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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO

 IN THE MATTER OF THE SEARCH OF:

     418 Hillside Avenue, Waverly, Ohio
     45690                                                     2:24-mj-293
                                                    Case No. ____________________

     and                                            Filed Under Seal

     203 Cherry Street, Waverly, Ohio
     45690


                  AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR
                                SEARCH WARRANT

       I, Stacie Modesitt Schmidt, being duly sworn, hereby depose and state as follows:

                        IDENTITY AND EXPERIENCE OF AFFIANT

1.     I make this affidavit in support of an application under Rule 41 of the Federal Rules of

Criminal Procedure for a warrant to search premises known as 418 Hillside Avenue, Waverly,

Ohio 45690 (“TARGET LOCATION 1”) and 203 Cherry Street, Waverly, Ohio 45690

(“TARGET LOCATION 2”) (referred to collectively as “TARGET LOCATIONS”), each

further described in Attachments A, for the things described in Attachment B.

2.     I am a Special Agent with the U.S. Drug Enforcement Administration (“DEA”) and have

been so employed since August 2008. I am currently assigned to the Tactical Diversion Squad

(TDS) of the Columbus District Office within the Detroit Field Division. As such, I investigate

violations of the United States Controlled Substances Act (CSA), codified in Title 21 of the

United States Code, and the implementing Federal Regulations, Part 1300 et seq. During my

career, I have been the lead investigator, or have participated, in investigations of entities for

violations of the CSA and its implementing regulations. I have received specialized training from




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the DEA, including a 19-week Basic Agent Training course at the DEA Academy in Stafford,

Virginia from August – December 2008.

3.     During my tenure with DEA, I have participated in investigations involving complex

criminal conspiracies and drug trafficking organizations. I have conducted investigations into the

unlawful importation, possession, and distribution of controlled substances, related laundering of

monetary instruments, as well as conspiracies to commit these offenses. By virtue of my

involvement in these investigations, I have become familiar with the various means and

mechanisms used by drug traffickers to import and distribute controlled substances and avoid

detection by law enforcement. I have planned, participated in and supervised the execution of

search warrants authorizing the search of drug traffickers, locations associated with drug

traffickers and their co-conspirators, such as residences, businesses, storage facilities,

outbuildings, safety deposit boxes, and vehicles. I know that drug trafficking is extremely

profitable and requires large amounts of currency to operate surreptitiously. In this regard, I have

obtained and executed numerous search warrants leading to seizures of ledgers, notebooks,

papers, and other related record-keeping instruments in paper and electronic formats, many of

which have been used to record voluminous drug and money laundering transactions. I have

been required to analyze information resulting from traditional record sources, such as pen

register and trap-and-trace devices, financial records, utility records, and telephone toll and

subscriber records, as well as nontraditional record sources, such as the informal ledgers

routinely maintained by drug traffickers listing amounts of drugs received from sources and

distributed to customers and the amounts of money received from customers and owed to

sources, commonly referred to as pay-owe sheets.




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4.       By virtue of my training and experience, and through my conversations with and review

of reports from other experienced agents and officers who conduct drug investigations, I am

aware:

         a.       that drug traffickers often place assets in names other than their own and/or use
         fictitious identification to avoid detection of these assets by government agencies or local
         law enforcement;

         b.      that even though these assets are in other persons’ names drug traffickers continue
         to exercise dominion and control;

         c.      that drug traffickers must maintain and finance their ongoing narcotics activities,
         as well as for paying bills, acquiring assets, and making other purchases;

         d.      that it is common for drug traffickers to maintain books, records, receipts, notes,
         ledgers, airline tickets, bus tickets, rental car receipts, receipts relating to the purchase of
         financial instruments and/or the transfer of funds, and other papers relating to the
         transportation, ordering, purchasing, processing, storage, sale and distribution of drugs,
         and the collection of its proceeds. That the aforementioned books, records, receipts,
         notes, ledgers, etc, are maintained where the drug traffickers have ready access to them;

         e.       that it is common for drug traffickers to secrete contraband, proceeds of drug
         sales, records of drug transactions, large amounts of currency, financial instruments,
         precious metals, jewelry, and other items of value; and evidence of financial transactions
         relating to obtaining, transferring, secreting, and spending large sums of money made
         from engaging in drug trafficking activities in secure locations within their residences
         and/or other locations over which they maintain dominion and control, in order to have
         ready access to them;

         f.      that it is common for persons involved in drug trafficking to maintain evidence
         pertaining to their obtaining, secreting, transfer, concealment, and/or expenditure of
         narcotic proceeds, such as: currency, financial instruments, precious metals and gem
         stones, jewelry, books, records, invoices, receipts records of real estate transactions, bank
         statements and related records, passbooks, money drafts, letters of credit, loan records,
         money orders, bank drafts, cashier checks, bank checks, wire transfers, safe deposit box
         keys and money wrappers. These items are maintained by the drug traffickers within their
         residences and/or other locations which they maintain dominion and control;

         g.      that when drug traffickers amass a large amount of proceeds from the sale of
         drugs, the drug traffickers attempt to legitimize these profits;

         h.      that to accomplish these goals, drug traffickers utilize, including, but not limited
         to, foreign and domestic banks and their attendant services, Western Union and other
         wire transfer or Money Service Businesses sales agents, check cashing services, real



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     estate agents, securities brokers, accountants, attorneys, business fronts, and otherwise
     legitimate businesses which generate large quantities of currency;

     i.      that drug traffickers often utilize electronic equipment such as currency counting
     machines, telephone answering machines, telephone caller identification boxes, and
     cellular telephones in their drug activities;

     j.      that drug traffickers often take or cause to be taken photographs/video tapes of
     themselves, their associates, their property, and their products. These traffickers usually
     maintain these photographs/video tapes in their residences and/or other locations in
     which they maintain dominion or control, including on electronic devices which are used
     to post such photographs/videos on social media or other websites or applications;

     k.     that the sale of controlled dangerous substances, generates large quantities of
     United States currency (aka, street money);

     l.     that is common for drug dealers to separate their “street money” by denomination
     and put this currency in rubber banded stacks in varying $1,000 increments to facilitate
     quick counting;

     m.       that the Currency Transaction Report (CTR - IRS Form 4789), which is required
     to be completed and filed with the Internal Revenue Service by all financial institutions
     on every currency transaction which exceeds $10,000, causes tremendous problems for
     drug traffickers when they attempt to negotiate their illegal profits at a financial
     institution;

     n.       that in order to evade the filing of a Currency Transaction Report (CTR),
     narcotics traffickers often “structure” their currency transactions so that no one
     transaction exceeds $10,000 or they provide false or misleading information in an attempt
     to legitimize or conceal the source and/or ownership of the currency:

     o.     that drug traffickers commonly maintain addresses or telephone numbers in books
     or papers, which reflect names, addresses and/or telephone numbers of their suppliers,
     customers, and other associates involved in their narcotics trafficking organization;

     p.      that drug traffickers commonly have in their possession, that is on their person, at
     their residences and/or other locations over which they maintain dominion and control,
     firearms, including but not limited to: handguns, pistols, revolvers, rifles, shotguns,
     machine guns, and other weapons. Said firearms are used to protect and secure a drug
     trafficker’s property. Such property may include, but is not limited to: narcotics, jewelry,
     narcotics paraphernalia, books, records, and U.S. Currency;

     q.      that courts have recognized unexplained wealth is probative evidence of crimes,
     in particular, trafficking in dangerous drugs; and




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          r.      that individuals involved in drug trafficking often require the use of cellular
          telephones to set up the times, places, and manner for collecting proceeds, and often use
          cellular telephones, tablets, and/or computers to conduct or facilitate their illicit drug
          operations.

5.        The facts set forth in this affidavit are based on my personal observations, training and

experience, as well as information obtained from various law enforcement personnel and

witnesses involved in this investigation. Specifically, I have obtained and reviewed oral and

written reports about this and other investigations from DEA special agents and other law

enforcement authorities. I have also obtained information from physical and electronic

surveillance conducted by DEA special agents and other law enforcement authorities. This

affidavit is intended to show merely that there is sufficient probable cause for the requested

search warrant and does not purport to set forth all of my knowledge of or investigation into this

matter.

                                 PURPOSE OF THE AFFIDAVIT

6.        This affidavit is made in support of an application for a warrant to search 418 Hillside

Avenue, Waverly, Ohio 45690 (TARGET LOCATION 1) and 203 Cherry Street, Waverly,

Ohio 45690 (TARGET LOCATION 2), each more particularly described in Attachments A, for

the items listed in Attachment B, which constitute evidence of a crime, contraband, fruits of

crime, or other items illegally possessed, and property designed for use, intended for use, or used

in committing violations of 18 U.S.C. §§ 1956, 1957 (conspiracy to commit money laundering,

and engaging in monetary transaction in property derived from specified unlawful activity), 21

U.S.C. § 841 (distribution of and possession with the intent to distribute controlled substances,

including Schedule III Controlled Substances, Psilocybin Mushrooms, Marijuana, and Cocaine),

21 U.S.C. § 846 (conspiracy to distribute and to possess with the intent to distribute controlled

substances, including Schedule III Controlled Substances, Psilocybin Mushrooms, Marijuana,



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and Cocaine), 21 U.S.C. § 843(a)(5) (unlawful possession of tools used to make a counterfeit

substance), 21 U.S.C. § 843(a)(6) (unlawful possession of a tableting machine or product used to

manufacture a controlled substance), and 21 U.S.C. § 843(b) (use of communication facility to

facilitate the commission of a drug felony) (hereinafter the “SUBJECT OFFENSES”).

7.     I am requesting authority to search the entire TARGET LOCATIONS, including the

residential dwelling, curtilage, all outbuildings, vehicles located on the premises that are owned

or operated by the residents of the TARGET LOCATIONS and more specifically described

herein, the person of any resident present, and any electronic devices located therein where the

items specified in Attachment B may be found, and to seize all items listed in Attachment B as

instrumentalities, fruits, and evidence of crime.

                                      PROBABLE CAUSE

8.     Since October 2020, the United States Postal Inspection Service (“USPIS”) has been

investigating the mailing of illegal steroids from Waverly, Ohio to the area of Phoenix, Arizona.

Using a confidential informant (“CI”), USPIS made 4 controlled purchases through an online

vendor called “Pure Powders.” Pure Powders is a sponsor on an online Health and Wellness

forum called “Brotherhood of Pain.” After each controlled purchase order was made through the

Pure Powders website, the CI was directed to send money to a recipient in China via Western

Union and/or Money Gram. The product was then shipped from Waverly to the CI’s address in

Arizona.

9.     Details for the 4 CI buys are as follows:

       a.      October 21, 2020 – Postal Inspector provided $500 Official Advanced Funds
       (“OAF”) to the CI for the purchase of approximately 50 grams of Testosterone Enanthate
       90, Testosterone Cypionate 90, Nandrolone Deconate 150, and Sildenafil Citrate 80. The
       CI sent $460 through Western Union to “Wanghong Liu” located in China. On October
       27, 2020, a parcel was mailed to the address provided by the CI from Thomas Shelby,
       TARGET LOCATION 1, and paid for using a Visa ending in 1911. On November 2,



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     2020, investigators retrieved and opened the package. The parcel contained 4 Ziploc
     baggies containing powder and labeled Testosterone Enanthate 90, Testosterone
     Cypionate 90, Nandrolone Deconate 150, and Sildenafil Citrate 80. Per the policy of the
     Arizona Department of Public Safety, one sample at a time is tested. Once the lab results
     are positive for a dangerous drug, further analysis of other samples is prohibited. Lab
     results on this package resulted in a positive result for Testosterone enanthate, a Schedule
     III Controlled Substance.

     b.      November 12, 2020 – Postal Inspector provided $500 OAF to the CI for the
     purchase of approximately 50 grams of Testosterone Enanthate 90, Testosterone
     Cypionate 90, Nandrolone Deconate 150, and Sildenafil Citrate 80. The CI sent $460
     through Western Union to “Zhongyan Liu” located in China. On November 13, 2020, a
     parcel was mailed to the address provided by the CI from Thomas Shelby, TARGET
     LOCATION 1, and paid for using a MasterCard ending in 4249. On November 17,
     2020, investigators retrieved and opened the package. The parcel contained 3 Ziploc
     baggies containing powder and labeled Testosterone Cypionate 90, Nandrolone Deconate
     150, and Sildenafil Citrate 80. The Testosterone Enanthate 90 was missing from the
     order. On November 18, 2020, another package was mailed to the address provided by
     the CI from Thomas Shelby, TARGET LOCATION 1. This package contained the
     Testosterone Enanthate 90. Lab results on this package resulted in a positive result for
     Testosterone enanthate, a Schedule III Controlled Substance.

     c.       January 15, 2021 – Postal Inspector provided $500 OAF to the CI for the
     purchase of approximately 50 grams of Testosterone Enanthate 90, Testosterone
     Cypionate 90, Nandrolone Deconate 150, and Sildenafil Citrate 80. The CI sent $460
     through Western Union to “Zhongyan Liu” located in China. On January 20, 2021, the CI
     was contacted by Pure Powders via email to inform the CI that the warehouse was out of
     Nandrolone Deconate and they wanted to substitute Nandrolone Phenylpropionate (NPP)
     in its place. Investigators agreed to the change, and the CI responded to the e-mail
     accordingly. On January 21, 2021, a parcel was mailed to the address provided by the CI
     from Thomas Shelby, TARGET LOCATION 1, and paid for using a Visa ending in
     0310. On January 26, 2021, investigators retrieved and opened the package. The parcel
     contained 4 Ziploc baggies containing powder and labeled Testosterone Enanthate 90,
     Testosterone Cypionate 90, Nandrolone Phenylpropionate (NPP), and Sildenafil Citrate
     80. Lab results on this package resulted in a positive result for Testosterone cypionate, a
     Schedule III Controlled Substance.

     d.     February 5, 2021 – Postal Inspector provided $500 OAF to the CI for the
     purchase of approximately 50 grams of Testosterone Propionate, 10 grams of
     Drostanalone Propionate, 50 grams of Oxandrolone, and 50 grams of Stanazolot. The CI
     sent $680 through Western Union to “Lanean Li” located in China. On February 9, 2021,
     the CI was contacted by Pure Powders via email to inform the CI that the order had been
     processed. That same day, a parcel was mailed to the address provided by the CI from
     Thomas Shelby, TARGET LOCATION 1, and paid for using a Visa ending in 0310. On
     February 12, 2021, investigators retrieved and opened the package. The parcel contained
     4 Ziploc baggies containing powder and labeled Winstrol (Stanazolot), Anadrol



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       (Oxandrolone), Mast P (Drostanalone Propionate), and Test P (Testosterone Propionate).
       Lab results on this package resulted in a positive result for Oxymetholone, a Schedule III
       Controlled Substance.

10.    For the 4 CI buys described above, the return address listed on the Priority Mail parcel

shipments of product was “Thomas Shelby,” TARGET LOCATION 1. According to the Pike

County Recorder and Auditor Offices, Mark Anglemyer (hereafter referred to as “Anglemyer”)

and                   purchased this residence in 2016. Your affiant knows this to be the

residential address of Anglemyer and                     . According to law enforcement indices,

there is no one by the name of Thomas Shelby associated with TARGET LOCATION 1.

11.    The credit cards used to pay for the shipping of the packages for the 4 CI buys (Visa

1911, Mastercard 4249, and Visa 0310) have all been identified as being connected to a US Bank

account belonging to Tanner Morris. Through surveillance and investigation, Morris has been

identified as a member of the Anglemyer drug trafficking organization (DTO).

12.    In connection with the January 15, 2021 buy, USPIS investigators provided a photograph

taken on January 21, 2021 of a white male at the counter inside the Post Office located at 125 E.

Second Street in Waverly, from which the parcel was shipped. The subject in the photograph,

identified as Tanner Morris, had multiple United States Postal Service (“USPS”) packages

stacked in front of him. Based on information provided by USPIS, there were 10 packages

mailed that day by Morris, and all had the return address of Thomas Shelby, TARGET

LOCATION 1. All 10 were paid for by Morris with his credit card, the Visa ending in 0310.

13.    On February 26, 2021, USPIS learned of a suspicious Priority Mail package being mailed

from Thomas Shelby, TARGET LOCATION 1, to                                                         ,

                     . The package was shipped on February 22, 2021 from the Post Office




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  located at 125 E. Second Street in Waverly. Shipping was paid for using the aforementioned

  Visa credit card ending in 0310.

  14.    Pursuant to a federal search warrant, USPIS opened the parcel addressed to

           and found it contained 10 white plastic bottles with a hand-written label reading “Oxy,”

  containing approximately 221 grams of yellowish pills, and 10 white plastic bottles with a Pure

  Powders Direct label reading “Dianabol,” containing approximately 217 grams of blue and pink

  pills. The pills were unmarked and appeared to have been pressed, consistent with the use of pill

  press. Lab results revealed that the pills in the bottle labeled “Dianabol” were positive for

  methandrostenolone (metandienone), a dangerous drug not sold legally in the United States, and

  the pills in the bottle labeled “Oxy” were positive for oxymetholone. Both are androgen and

  anabolic steroids, schedule III controlled substances.

  15.    USPIS records identified 2 other shipments sent to

  on March 9 and March 22, 2021, respectively. No name was listed on the return address label,

  but the return address used was PO Box 186, Waverly, Ohio 45690. According to the

  Application for Post Office Box Service, PO Box 186 belongs to Anglemyer with an associated

  address of 617 S. Market Street, Apt. 20, Waverly, Ohio 45690 (hereafter referred to as “the

  Market St. Apartment”). The 2 shipments were paid for using the aforementioned Visa credit

  card ending in 0310.

  16.    In April 2021, DEA received information that Anglemyer ordered a TDP 1.5 Desktop

  Tablet Press from LFA Machine DFW, LLC (hereafter “LFA”) on March 24, 2021. On the same

  day, Anglemyer also ordered from LFA 2 kilograms of Firmapress White, a binding powder used

  for making tablets. Records indicate the press was delivered on March 30, 2021 to TARGET




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    LOCATION 1. The delivery was signed for in the name of “Anglemyer.” The purchase was

    made with a Mastercard ending in 4960 that is tied to Anglemyer’s Fifth Third Bank account.

    17.    The shipment was flagged by DEA as suspicious because TARGET LOCATION 1 is a

    residence and not a business address. The TDP 1.5 Desktop Tablet Press is capable of producing

    5,000 tablets per hour. Through training and experience, I know that narcotics distributors often

    use pill presses in the production of counterfeit pharmaceuticals.

    18.    Records from LFA revealed that during the purchase, Anglemyer was required to submit

    a Due Diligence Form. On the form, Anglemyer claimed to be the owner of a company called

    “SPC Services LLC” with an address of TARGET LOCATION 1. The Due Diligence Form

    required that Anglemyer state his intended use for the press. Anglemyer stated that the type of

    materials that would be running through the press included “vitamin c, vitamin b, vitamin d,

    vitamin e, creatine, beta, alanine, zinc, fenugreek, dextrose, etc.” The bottom of the form read,

    “At LFA we take prevention of crime seriously. By signing this form, you are confirming that

    you are not using any products purchased to commit a crime.” The form was Docu-Signed by

    “Mark A. Anglemyer, Jr.” Anglemyer provided LFA with a scanned copy of a temporary Ohio

    Driver’s License/Identification card as identification when he submitted the form online. The

    address on the card was the Market St. Apartment. Investigators know this address to be an

    apartment that Anglemyer has utilized to process and package steroid products.

    19.    Pursuant to the Ohio Secretary of State’s website, SPC Services LLC is not a Limited

    Liability Corporation in the State of Ohio. Other research databases were searched, and

    investigators could only find one listing for an SPC Services LLC: a termite exterminator service

    located in Miami, Florida.




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    20.    Records received from Customs and Border Patrol (CBP) indicated Anglemyer received

    107 import shipments at TARGET LOCATION 1 between August 2016 and February 2021.

    Anglemyer received 15 import shipments at the Market St. Apartment between March 2017 and

    November 2021. While a few shipments were from recognizable businesses, many import

    shipments were from undisclosed locations in China or other Chinese entities. Moreover, many

    of the cargo descriptions and weights for the shipments were inconsistent. For example, one

    shipment listed the cargo description as an engraving pen weighing 3 kilograms, another

    shipment listed the cargo description as an aluminum bottle weighing 7 pounds, and another

    shipment listed the cargo description as a plastic bottle cap weighing 4 pounds. Based on my

    training and experience, I know that China is a source country for illegally obtained controlled

    substances and pre-cursor chemicals used to make illegal pharmaceuticals and that Chinese

    companies selling these items often attempt to conceal the true contents of packages by listing

    the contents as mundane, everyday items.

    21.    Records from CBP further revealed that on April 4, 2021, a package addressed to

    Anglemyer at the Market St. Apartment was interdicted coming from China. The contents of

    the package were listed as a “remote control”; however, CBP found the package to contain 2.23

    kilograms of Testosterone Enanthate, an androgen and anabolic steroid that is a schedule III

    controlled substance.

    22.    On July 7, 2021 surveillance was established at TARGET LOCATION 1. A black

    Dodge Ram truck, OH# HJF6480, registered to Anglemyer, was parked on the street in front of

    the residence. A black Hyundai Accent, OH# HLZ9263, registered to                      , was

    parked in the driveway.




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    23.    During surveillance, Heather Howell, a co-conspirator, exited TARGET LOCATION 1,

    entered the Hyundai Accent and departed. Howell later arrived at the Market St. Apartment.

    24.    A few hours later on that same day, Anglemyer exited TARGET LOCATION 1,

    entered his Ram truck, and drove to the Market St. Apartment where Howell met him outside.

    They both entered the apartment. Shortly thereafter, Anglemyer and Howell exited the

    apartment, got into Anglemyer’s Ram truck, and departed.

    25.    Surveillance also observed a 2020 Kawasaki motorcycle, bearing Ohio license plate

    HBG98, parked in front of TARGET LOCATION 1. The motorcycle was registered to Tanner

    Morris at 201 Cherry Street, Waverly Ohio. Within 30 minutes of Anglemyer and Howell’s

    return to TARGET LOCATION 1, Morris exited TARGET LOCATION 1, got on his

    motorcycle, and departed the premises.

    26.    Surveillance was maintained at TARGET LOCATION 1 when Anglemyer was

    observed exiting his residence at approximately 3:06 PM. Anglemyer climbed into the Ram truck

    and after approximately 15 minutes, drove to the Market St. Apartment.

    27.    On September 9, 2021 surveillance observed Anglemyer’s Ram truck was parked on the

    street at TARGET LOCATION 1. Investigators observed Anglemyer exit his residence and

    drive his truck to the Market St. Apartment. The black Hyundai Accent was parked outside the

    Market St. Apartment.

    28.    Surveillance was maintained in the area of the Market St. Apartment. Anglemyer’s

    Ram truck traveled to the Post Office located at 125 E. Second Street. Howell waited in the

    passenger seat while Anglemyer entered the post office. Anglemyer exited the post office and

    returned to his truck, and then he and Howell returned to the Market St. Apartment.




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    29.    According to USPS records, Anglemyer mailed out 5 packages, paying for shipping with

    one of his own credit cards. There was no name associated with the return address, and the return

    address listed for all of the packages was PO Box 186, Waverly, Ohio. The recipients’ names

    were also blank.

    30.    On November 9, 2021 surveillance was established in the area of the Market St.

    Apartment. Both Anglemyer’s Ram truck and a blue Chevrolet Equinox were parked in front.

    Anglemyer purchased the Equinox in May of 2021; it is registered to him at the Market St.

    Apartment. The Equinox is usually driven by Howell, who lives at the Market St. Apartment.

    31.    At approximately 11:38 AM, Anglemyer’s Ram truck exited the parking lot of the

    Market St. Apartment, with Anglemyer and Howell in the truck. Surveillance followed

    Anglemyer to the Post Office located at 114 S. Forsythe Street, Piketon, Ohio. Howell exited the

    truck and entered the post office with a package. When Howell exited the post office a minute

    later, she was in possession of what appeared to be a receipt.

    32.    According to USPS records, a package was mailed from the Piketon post office using the

    return address of PO Box 186, Waverly, Ohio. The package was shipped to                          ,

                                    . The package weighed 2 lbs. 3 oz. and was paid for with cash.

    USPIS records revealed 65 other shipments were made from Waverly, Ohio to                   ,

                         between October 18, 2019 and December 4, 2023. Thirteen of the parcels

    weighed between 2 lbs. and 4 lbs. 5 oz. The names used on the return labels included SPC

    Services LLC, Tanner Morris, and Thomas Shelby. The return addresses included 201 and 701

    Cherry Street, TARGET LOCATION 1, and PO Box 186. Many of the shipments were paid for

    using cards that have been used before by members of the Anglemyer DTO to pay to ship

    steroids or purchase the pill press.




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    33.    In the afternoon of November 9, 2021, Anglemyer and Howell exited the Market St.

    Apartment and entered the Ram truck. The vehicle was followed to the lumberyard located off

    Market Street. Howell exited the truck and opened the driver’s side door of a green Chevrolet

    Lumina, OH# JER3905, registered to                                                                 ,

          Howell dropped something off or retrieved something from the Lumina. Howell then got

    back into the truck and Anglemyer drove away. Approximately one hour later, an unknown

    white female, came from the lumber yard building and entered the Lumina. The female sat in the

    driver’s seat to smoke a cigarette before reaching under the seat and returning to the business.

    Agents did not observe if the unknown female carried anything with her as she returned inside.

    34.    Based on my training and experience, this activity was consistent with a drug transaction.

    I know that often times drug traffickers pre-arrange a “drop” for a customer at a location where

    only the customer will find it, such as the customer’s vehicle. I also know, based on my training

    and experience, that payments for drugs are not always made hand-to-hand, but rather through

    virtual platforms such as Venmo or Paypal, which are often readily available on a cellular

    telephone, especially in instances such as these where the individuals do not meet face to face.

    35.    Surveillance was maintained on Anglemyer’s Ram truck and the vehicle was followed to

    the Post Office located at 125 E. Second Street. Howell exited the passenger side of the truck

    with a cardboard box and entered the post office. Approximately 5 minutes later, Howell exited

    empty handed and got back into the truck.

    36.    According to USPS records, a package was mailed from the Waverly Post Office using

    the return address of PO Box 186, Waverly, Ohio. The package was shipped to

                                     . The parcel weighed 4 pounds and was paid for with cash.




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    37.      There were 46 other shipments sent from the Anglemyer DTO to                     address

    between October 8, 2019 and January 2, 2024. The names used on the return labels included

    Tanner Morris (a former DTO member),                                                         ), and

    Thomas Shelby1, or were otherwise left blank. The return addresses included 201 Cherry Street

    (which has been identified as the previous residence of Tanner Morris), TARGET LOCATION

    1, PO Box 186, 516 W. A Street, Wellston, Ohio (a previous address of Blake Mankin, who is a

    known member of the Anglemyer DTO), or were otherwise left blank. Nineteen packages

    weighed between 2 lbs. and 4 lbs. 7 oz. All of the shipments were paid for using several credit

    cards belonging to members of the Anglemyer DTO or cash. At least 5 of the cards have been

    identified as being used to ship steroids or purchase the pill press.

    38.      Through my training and experience and my knowledge of the investigation, I know that

    the Anglemyer DTO sends packages via Priority Mail through the USPS. I am aware that the

    USPS mail system is frequently used to transport controlled substances and/or proceeds from the

    sale of controlled substances throughout the United States. Although Priority Mail was designed

    as a less expensive way to fit the needs of businesses shipping time-sensitive materials, I know

    that drug traffickers prefer services such as Priority Mail because of their reliability and the

    ability to track the parcel’s progress to the intended delivery point.

    39.      Based on my training, experience, and information relayed to me by other investigators

    who specialize in investigations relating to controlled substances, I am aware that legitimate

    business mailings often (a) contain typewritten labels; (b) are addressed to and/or from a

    business; and (c) use corporate charge accounts to avoid time-consuming cash payments. Priority




    1
        Through investigation, I know Thomas Shelby to be an alias that Morris uses.


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    Mail parcels containing controlled substances being shipped by drug traffickers usually display

    one or more of the following: (a) a label with handwritten address information; (b) a label

    addressed from one individual to another individual; (c) a label that does not contain a business

    account number, thereby indicating the sender paid with cash or credit; and/or (d) a parcel that is

    heavier than the typical mailing, often weighing more than 2 pounds for Priority Mail.

    40.      Based on my training and experience, I know that it is common for drug traffickers to use

    names not associated with an address and/or fictitious names and addresses to evade detection by

    law enforcement and to appear legitimate and conceal the true sender. Thomas Shelby, Alex

    Gray2, and SPC Services, LLC are some of the fictitious names used by the Anglemyer DTO.

    41.      On November 17, 2021, at approximately 9:15 AM, surveillance was established at

    TARGET LOCATION 1, as well as the Market St. Apartment. Anglemyer’s Ram truck was

    parked in the front yard of TARGET LOCATION 1 and the Equinox was at the Market St.

    Apartment. Within 30 minutes, the Ram truck had moved and was located at the Market St.

    Apartment. At approximately 11:27 AM, the Ram truck, occupied by Anglemyer and Howell,

    departed the parking lot of the Market St. Apartment and arrived at the Post Office located at

    125 E. Second Street. Anglemyer and Howell exited the truck. Each were in possession of 3-4

    boxes which they carried into the post office. At approximately 11:33 AM, both exited the post

    office. Howell walked back to the truck carrying multiple flattened USPS boxes and envelopes

    used for shipping packages/parcels. Both re-entered the truck and departed the area, eventually

    returning to the Market St. Apartment.




    2
        Through investigation, I know Alex Gray to be an alias Mark Anglemyer uses.


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    with an unidentified white male who was standing between the truck and the mailbox. After

    approximately 5 minutes Anglemyer pulled away from the residence.

    47.    Anglemyer’s truck was subsequently followed to the Waverly Field parking lot located at

    500 E. Second Street in Waverly. At approximately 1:11 PM, Anglemyer pulled up next to a

    gray Ford truck, bearing OH #JLD6625, that was registered to                                         ,

                     The 2 trucks were parked driver’s window to driver’s window. Anglemyer

    reached out the window and handed a small plastic baggie to the unknown driver of the gray

    Ford truck. Both vehicles departed, and surveillance followed Anglemyer and Howell back to the

    Market St. Apartment. At approximately 2:07 PM, Anglemyer was observed in the Dodge

    Ram departing the parking lot of the Market St. Apartment, and subsequently arriving at

    TARGET LOCATION 1.

    48.    Based on my training and experience, the 2 short trips after departing the Post Office

    were consistent with drug deliveries. The first stop, at the driveway of a residence only lasted a

    short period of time before Anglemyer and Howell departed. I know that when drug traffickers

    are delivering product, the encounters are generally quick. During the second stop at Waverly

    Field, surveillance agents observed a hand-to-hand exchange between Anglemyer and the driver

    of the other truck.

    49.    On March 21, 2022, surveillance was established at the Market St. Apartment.

    Anglemyer’s Dodge Ram was parked in front and Howell arrived in the Equinox at

    approximately 8:48 AM.

    50.    At approximately 11:52 AM, Howell exited the apartment carrying a USPS box. Howell

    climbed into the Equinox and departed the complex. Surveillance followed Howell to the Post

    Office at 125 E. Second Street. Howell parked the vehicle and carried the package inside. A




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    short time later, Howell exited the post office with a receipt in hand. Howell then returned to the

    Market St. Apartment and entered the apartment using a key.

    51.    Information was obtained from USPIS regarding the package dropped off at the Post

    Office by Howell. The package was sent Priority Mail Express and weighed almost 2 pounds.

    Howell paid for the shipping with cash. The return address was H. Burkitt, PO Box 186,

    Waverly, Ohio 45690. Agents identified Heather Burkitt as an alias for Howell from Facebook.

    52.    On March 24, 2022, Anglemyer’s Ram truck was parked in the driveway at TARGET

    LOCATION 1. Anglemyer exited his residence, entered the Ram truck, and drove to the

    Market St. Apartment. At approximately 12:00 PM, Anglemyer exited the Market St.

    Apartment carrying a black plastic bag in his hand and he placed it in the truck. Anglemyer then

    drove back to TARGET LOCATION 1 and parked. Anglemyer remained in the truck for

    approximately 5 minutes and then entered the residence.

    53.    At approximately 1:00 PM, a red Ford truck, bearing Ohio license plate number 479

    YXZ, arrived at TARGET LOCATION 1. A white male exited the truck and walked over to the

    passenger door of Anglemyer’s Ram truck. The white male got into the passenger side front door

    of the Ram truck and retrieved the black plastic bag that Anglemyer had been observed carrying

    as he departed the Market St. Apartment. The white male then, in possession of the black

    plastic bag, returned to his own truck and departed TARGET LOCATION 1.

    54.    Based on my training and experience, this activity was consistent with an illegal drug

    purchase. Similar to the previous “drop” delivery at the lumber yard, the product was left for the

    customer at an agreed upon location, i.e., inside Anglemyer’s truck. The customer arrived at

    TARGET LOCATION 1 and retrieved the product from the truck without contacting

    Anglemyer, even though Anglemyer was home.




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    55.    On March 29, 2022, surveillance was established at the Market St. Apartment.

    Investigators found Anglemyer’s Ram truck parked outside the apartment. At approximately

    10:24 AM, a black Nissan Rogue registered to Arin K. Sodaro at 203 Cherry St., Waverly, Ohio

    (TARGET LOCATION 2) arrived at the Market St. Apartment. A white female, later

    identified as Arin Sodaro, a member of the Anglemyer DTO, exited the vehicle and went into the

    apartment. Approximately 30 minutes later, the apartment door opened and surveillance

    observed Sodaro and Anglemyer in the doorway. Sodaro then returned to the Rogue and

    departed south on Highway 23.

    56.     At approximately 1:12 PM, Anglemyer exited the Market St. Apartment carrying a

    large Priority Mail box that he placed in the Ram truck. Anglemyer drove directly to TARGET

    LOCATION 1 and went inside the house. The large Priority Mail box remained in the Ram

    truck. Approximately 5 minutes later, Anglemyer was observed exiting TARGET LOCATION

    1 with a backpack which he placed in the Ram truck.

    57.    Surveillance followed Anglemyer from TARGET LOCATION 1 to                             ,

                           where Anglemyer picked up a white male carrying a red backpack at

    approximately 1:24 PM. This white male was later identified as

                  got into the passenger seat of the Ram truck and Anglemyer departed.

    58.    Records received as a result of a search warrant executed on Anglemyer’s Facebook

    account revealed conversations indicating                 was a member of the Anglemyer DTO.

    The conversations revealed that               held cocaine for Anglemyer because Anglemyer

    stated he could not trust himself around it. Anglemyer instructed              how to re-rock

    cocaine for distribution.             was involved in the sale of narcotics (cocaine, marijuana,

    and mushrooms) for Anglemyer.                  kept a ledger detailing inventory and money owed




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    to Anglemyer.                laundered money for Anglemyer by exchanging smaller bills for

    100s through                s mother’s back account.

    59.    Surveillance followed Anglemyer and                    to the Post Office located at 125 E.

    Second Street. At approximately 1:26 PM, Anglemyer exited the vehicle with the large Priority

    Mail box and entered the post office. A couple minutes later, Anglemyer exited the post office

    and walked back to the Ram truck.

    60.    Investigators contacted USPIS regarding the Priority Mail box that had been taken to the

    Waverly Post Office by Anglemyer. USPIS personnel from Columbus, Ohio then

    interdicted/took possession of the package. USPIS advised that the Priority Mail box was

    addressed to                                                     ,” with a return address of “Alex

    Gray, 617 S Market St, Apt 20, Waverly, OH 45690,” the Market St. Apartment. There is no

    one by the name of Alex Gray associated with the Market St. Apartment. Shipping was paid

    for with a Mastercard ending in 8113 and was identified as being connected to Howell’s Peoples

    Bank account.

    61.    USPIS secured and executed a federal search warrant on the aforementioned package

    addressed to                . Inventory of the evidence seized from the package revealed the

    following:

           x       1 white pill bottle with hand written markings "T3 40 MCJ"; containing 32 light
           blue-green tablets (pills). The pills were consistent with those created using a pill press.
           Final lab results yielded no controlled substances.

           x       3 white pill bottles with label that reads "AROMASIN 25 MG" and "SPC LABS";
           each bottle containing 30 light grey tablets (pills) - Total of 90 tablets (pills). Final lab
           results were positive for methandienone, a Schedule III controlled substance, and
           exemestane which is not controlled but can function as an estrogen blocker.

           x      3 white pill bottles with label that reads "DIANABOL 50MG" and "SPC LABS";
           each bottle containing 30 pink tablets (pills) - Total of 90 tablets (pills). The label refers




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           to an anabolic steroid, a schedule III controlled substance and final lab results were
           positive for methandienone, a Schedule III controlled substance.

           x      3 plastic clear bottles, with red caps, that reads "VAR 20 MG" (handwriting);
           each containing clear liquid. Final lab results yielded no controlled substances.

           x       3 glass vials with label that reads "TRENBOLONE ACETATE" and "SPC
           LABS", 100 mg/mL each; containing yellow liquid - Total of 300 mg/mL. Final lab
           results were positive for Trenbolone Acetate, an androgen and anabolic steroid. It is a
           schedule III controlled substance.

           x       2 glass vials with label that reads "TESTOSTERONE ENANTHATE" and "SPC
           LABS", 250 mg/mL each; containing clear liquid - Total of 500 mg/mL. The label refers
           to an androgen and anabolic steroid, a schedule III controlled substance. Final lab results
           were positive for testosterone enanthate.

           x      2 glass vials with black caps, no markings, each containing a white powder
           substance. Final lab results yielded no controlled substances.

           x      Ten glass vials with red caps, no markings, each containing a white powder
           substance. Final lab results yielded no controlled substances.

    62.    USPIS records indicated that there were 5 other shipments sent to            i between May

    12, 2021 and March 1, 2024. The name used on the return labels was Alex Gray or otherwise left

    blank. The return addresses included the Market St. Apartment and PO Box 186. All of the

    shipments were paid for using 2 different credit/debit cards or cash. One of the cards is

    connected to Howell’s Peoples Bank account, and the other card is connected to Morris’s US

    Bank account. Both Morris and Howell have shipped out packages containing steroids using

    these credit cards. Sodaro was observed taking the last package to the post office to mail out.

    63.    On May 10, 2022 investigators established surveillance on Morris at 7311 Skyline Drive

    E, #307, Columbus, Ohio 43235. Surveillance agents observed Morris exit the apartment and

    walk to the garage. Morris then backed out a lime green colored Ford Mustang bearing Ohio

    license plate number “Britt50.”




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    64.    During the course of the surveillance, investigators followed Morris to the United States

    Post Office located at 6316 Nicholas Drive, Columbus, Ohio 43235. Morris exited the Ford

    Mustang and took a small Priority Mail package into the Post Office. Morris exited empty

    handed and returned to his apartment.

    65.    Information received from USPIS revealed the US Priority Mail package shipped by

    Morris was addressed to                                                                     . The

    return address was Thomas Shelby, 201 Cherry Street, Waverly, Ohio 45690; this address has

    been identified from bank records and vehicle registrations as Morris’ previous address where he

    lived in Waverly, before moving to Columbus, Ohio in October 2021. There is no Thomas

    Shelby associated with this residence.

    66.    The package was subsequently seized and a federal search warrant was obtained for it.

    The package addressed to                                                        , contained 16

    glass vials of suspected steroids. Final analysis from the Columbus Division of Police Laboratory

    revealed the following:

           x     One glass vial containing liquid. Results were positive for an anabolic steroid,
           however, a complete analysis was not performed.

           x       8 glass vials containing liquid. Lab results were positive for Testosterone
           enanthate, an androgen and anabolic steroid used in the treatment of low testosterone
           levels in men. It is a schedule III controlled substance.

           x     2 glass vials containing liquid. Lab results were positive for Boldernone
           undecylenate, an androgen and anabolic steroid. It is a schedule III controlled substance.

           x       5 glass vials containing liquid. A complete analysis was not performed.

    67.    The USPIS report revealed that 26 packages had been mailed to 4450 S. Ridge Rd., Apt.

    1207, McKinney, TX 75070 from the Post Office in Waverly, Ohio 45690 between January 2,

    2021 and October 11, 2021. The packages were from Thomas Shelby, T Shelby, or left blank.



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    The return addresses used were TARGET LOCATION 1, PO Box 186, or left blank. Dax

    Serrano is named as the recipient on 21 of the 26 packages sent to                                    ,



    68.    On June 28, 2022, Waverly police initiated a traffic stop on a vehicle for improper tags.

    During a search of the vehicle, officers found a clear bag containing a white, powdery substance.

    The driver advised the substance was cocaine. 4 The driver also stated that he bought the cocaine

    from Arin Sodaro and that Sodaro told him she sells cocaine for Anglemyer.

    69.    On July 20, 2022, surveillance was established at TARGET LOCATION 1 where

    surveillance observed Anglemyer’s Ram truck parked in front. At approximately 7:38 AM, the

    Rogue arrived and parked in the driveway. Sodaro exited the vehicle, obtained a key from above

    the door, and let herself in the residence.

    70.    At approximately 1:52 PM, Sodaro exited TARGET LOCATION 1 and climbed into

    the Ram truck. Sodaro drove to Chillicothe, Ohio. Sodaro put gas in the truck, made a purchase

    at Family Dollar, and washed the truck before returning to TARGET LOCATION 1.

    71.    On July 27, 2022, surveillance was established in Waverly, Ohio. The Equinox was

    parked at the Market St. Apartment. At approximately 9:47 AM, Sodaro’s Rogue was

    observed parked in front of TARGET LOCATION 1. At approximately 11:18 AM, Anglemyer

    arrived at TARGET LOCATION 1 and parked the Ram truck in the driveway.

    72.    At approximately 1:12 PM, a white Nissan Altima parked in front of TARGET

    LOCATION 1. The vehicle was registered to                                                    .A

    male, later identified as              , exited the vehicle and retrieved a large and heavy duffel




    4
      Lab reports on the substance are still pending due to the covert nature of this investigation and
    the fact that Anglemyer is believed to have connections with Waverly police.


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    bag from the vehicle.          carried the bag to the door and was let inside. A few minutes later,

            exited the residence with the visibly lighter duffle bag, returned to the Nissan Altima,

    and departed. Law enforcement provided information regarding                       is the owner of

                               .                                                                  .

    73.    At approximately 1:24 PM, Sodaro exited TARGET LOCATION 1, climbed into the

    Rogue, and departed. Sodaro was not carrying anything. At approximately 1:54 PM, Howell

    exited the Market St. Apartment. Howell carried 3 parcels – one large box, a medium box, and

    a regular envelope. Howell departed in the Equinox and drove to the Post Office located at 125

    E. Second Street. Howell entered the Post Office with the packages. At approximately 2:08 PM,

    Howell exited with Sodaro. Agents had not observed Sodaro arrive or enter the Post Office.

    Howell and Sodaro chatted on the sidewalk in front of the Post Office before each returned to

    their own vehicles. Howell returned to the Market St. Apartment, while Sodaro returned to

    TARGET LOCATION 1.

    74.    Information received from USPIS revealed that the 2 boxes dropped off at the post office

    by were sent Priority Mail Express and the shipping costs were paid with cash. The return

    address on both boxes was P.O. Box 186 Waverly, OH 45690. The medium box was addressed

    to                                                    . The larger box was addressed to 1

                                                  .

    75.    USPIS obtained a federal search warrant for the larger box shipped, which was addressed

    to                                                                   . As a result of the search

    warrant, investigators seized 7 white pill bottles labeled as miscellaneous steroids and 14 clear

    glass vials labeled as miscellaneous steroids. Final analysis from the Columbus Division of

    Police Laboratory revealed the following:




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           x       At least 1 bottle of 30 pills labeled Clomid 50 mg.

           x       At least 1 bottle of pills labeled Arimidex 1 mg.

           x       At least 1 bottle of pills labeled Nolvadex 20 mg.

           x     1 vial of liquid labeled Trenbolone Acetate 100 mg/mL, which tested positive for
           Trenbolone acetate, a schedule III controlled substance.

           x      2 glass vials containing liquid, which tested positive for Boldenone undecylenate,
           an androgen and anabolic steroid, a schedule III controlled substance.

           x      2 glass vials containing liquid, which tested positive for Testosterone enanthate,
           an androgen and anabolic steroid, a schedule III controlled substance.

           x      2 glass vials containing liquid, which tested positive for Testosterone decanoate,
           an androgen and anabolic steroid, a schedule III controlled substance.

           x      2 glass vials containing liquid, which tested positive for Testosterone
           phenylpropionate, an androgen and anabolic steroid, a schedule III controlled substance.

           x      2 glass vials containing liquid, which tested positive for an anabolic steroid, a
           schedule III controlled substance in the United States.

           x      3 glass vials containing compressed white powder substance – no controlled
           substance was detected.

    76.    USPIS records revealed 4 other shipments made to

                               between March 23 and July 13, 2022. No name was listed on the

    return address label, but the return address used was PO Box 186, Waverly, Ohio. One package

    was shipped from the Wellston, Ohio Post Office, and all others were shipped from Waverly. All

    of the shipments were paid for using Mastercard credit card ending in 8113 or cash. The

    Mastercard ending in 8113 has been identified as belonging to Howell’s Peoples Bank account

    and has been used previously to pay for shipping of steroids.

    77.    In mid-October 2022 investigators were contacted by DEA investigators from Riverside

    CA. They advised that Anglemyer’s cellular telephone number, (740) 941-6273, had shown up




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    on multiple occasions in phone tolls for the target of their investigation. They also advised the

    target(s) of their investigation were involved in the distribution of kilogram quantities of cocaine.

    78.    In November 2022, a state search warrant was executed on Anglemyer’s Facebook

    account. I know from training and experience that Facebook members often install the Facebook

    application on their cell phone for ease of use, to post pictures and to message. The search

    warrant produced information of “direct messages” between Anglemyer and others involved in

    narcotics distribution. This included sources of supply (SOS), conversations with co-

    conspirators, and with customers. Anglemyer used his cellphone to document trips to California,

    via photographs, and to obtain cocaine. Anglemyer also used his cellphone as it related to the

    sale of steroids which he shipped through the USPS.

    79.    Specifically, as learned from the contents obtained from the search warrant executed on

    Anglemyer’s Facebook account, investigators noted that on April 13, 2021, Anglemyer traded

    “direct messages” with a                                        . The conversation documented

    that          put in an order to purchase steroids from Anglemyer. Once the order was complete,

    Anglemyer took a picture of the USPS receipt that displayed the tracking number for the package

    and sent it via “direct message” to          to confirm his order had been sent. In addition to the

    package mailed on April 13, 2021, documents received from the Facebook search warrant

    revealed photographs of USPS receipts for other packages mailed to               on: 04/28/2021,

    05/20/2021, 06/30/2021, 11/19/2021, 12/09/2021, 02/25/2022, 02/28/2022, and 04/11/2022.

    80.    The Facebook search warrant also revealed that on November 19, 2021,

    exchanged Facebook messages with Anglemyer to order 5 grams of “shrooms,” a common slang

    term for psilocybin mushrooms. As noted previously in this affidavit, on November 19, 2021,

    surveillance was initiated at Anglemyer’s residence. Surveillance observed Anglemyer meet with




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    a man in a gray Ford truck, bearing OH #JLD6625, registered to

                          . Agents observed a hand-to-hand transaction occur between the 2 trucks

    before Anglemyer and Howell returned to the Market St. Apartment.

    81.    Further Facebook messages revealed that Crace obtained illegal substances from

    Anglemyer on several occasions up until November 2022 when the Facebook search warrant was

    executed.

    82.    On November 7, 2022, surveillance was established in Waverly, Ohio. Sodaro’s Rogue

    was parked at TARGET LOCATION 1. Anglemyer’s Ram truck and the blue Equinox known

    to be driven by Howell were parked at the Market St. Apartment. At approximately 3:18 p.m.,

    Sodaro exited TARGET LOCATION 1, drove the Rogue to a Whit’s Frozen Custard drive-

    thru, and then drove directly to the Market St. Apartment. Sodaro exited the vehicle with

    nothing in her hands and entered the front door without knocking. At approximately 3:32 p.m.,

    Sodaro exited the Market St. Apartment carrying a bag that was half the size of a normal

    backpack. Howell followed Sodaro outside but remained on the front porch. Sodaro returned to

    the Rogue and departed.

    83.    Sodaro drove to the Post Office on Second Street and parked in the parking lot.

    Surveillance temporarily lost sight of her vehicle and when they arrived at the Post Office,

    Sodaro was already inside. At approximately 3:53 p.m., Sodaro exited the Post Office and

    returned to her vehicle. Within a few minutes of the departure, surveillance lost sight of Sodaro’s

    vehicle. According to USPIS records, Sodaro had mailed out a Priority Mail package at

    approximately 3:51 p.m. on November 7, 2022 from the Waverly post office. The package was

    addressed to                                                           . The package weighed 10

    ounces and was paid for with cash. The package listed the return address as Alex Grey at




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    TARGET LOCATION 1. Alex Grey is an alias that the Anglemyer DTO has used previously

    when shipping out steroids.

    84.    According to law enforcement indices and open-source databases,                       .,

                                 is a valid, deliverable address. However, the name            was not

    found to be associated with this address. On November 18, 2022, a federal search warrant was

    obtained for this package.

    85.    On November 21, 2022, the package was opened and the contents included $7,500.00

    United States currency. The cash was in large denominational bills. Based on my training and

    experience, I know that drug traffickers often use cash for their transactions and that mailing

    cash is a method used by drug traffickers to make payments while attempting to avoid detection

    by law enforcement.

    86.    Facebook communications between Anglemyer and Sodaro, a co-conspirator, revealed

    that on November 7, 2022, Anglemyer provided Sodaro with information to mail a package.

           Anglemyer:                                                                 .

           Sodaro:                  ? Not street??

           Anglemyer:

           Sodaro: I’ll sent it out as soon as I drop your food off

           Anglemyer: And she did pull the 7500 from the white bag correct

           Sodaro: I’m double checking

           Anglemyer: Get that tracking?

    Sodaro responded with a photograph of a USPS receipt with tracking number

    9505513945972311619351. The Priority Mail package with this tracking number was mailed

    from the Waverly, Ohio post office and sent to Lake Elsinore, CA 92530.




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    Waverly, OH Post Office (45960) are associated with the Anglemyer DTO and likely contained

    US currency.

    90.    On November 29, 2022, USPIS identified a Priority Mail package that had been sent out

    from a Riverside, California Post Office and was intended for delivery to Alex Grey at

    TARGET LOCATION 1. The return address was listed as                                            ,

                          . The package weighed 6 lbs. 15 oz. with postage of $36.15. The tracking

    number for this package was # 95055150692623327841.

    91.    According to law enforcement indices and open-source databases,                         ,

                          is a valid deliverable address for a self-storage facility named A Storage

    Place. USPIS agents conducted a K-9 open air sniff of the package and received a positive

    indication for narcotics.

    92.    On December 2, 2022, a federal search warrant was executed on the package. Inside was

    a shoebox that contained a pair of size 14 men’s boots. Hidden inside each boot was a vacuum-

    sealed plastic bag containing approximately one-half kilogram of suspected narcotics. The total

    weight of the 2 vacuum-sealed bags was 1158.8 grams. Final lab results identified the substance

    as cocaine.

    93.    Investigators reviewed the IP addresses which had tracked the priority mail packages

    #9505513945972311619351 and # 95055150692623327841, which contained $7,500 United

    States Currency and approximately 1158.8 grams of cocaine, respectively. The subscriber

    information associated with the IP addresses came back to Anglemyer at TARGET

    LOCATION 1.

    94.    Additional information provided by the USPIS Agents assisting DEA-Riverside in their

    investigation revealed information on the following Priority Mail packages that had been mailed




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    from Riverside, CA to the addresses of Anglemyer (TARGET LOCATION 1) and Arin Sodaro

    (TARGET LOCATION 2) in Waverly, OH:

              Date Mailed USPS Tracking #             Address/Occupant   WT
          x   06/21/2022 – 9405511108036489662046 – TARGET LOCATION 2– 2.39 lbs
          x   07/11/2022 – 9505515069312192432237 - TARGET LOCATION 2– 6.43 lbs
          x   07/23/2022 – 9505513827082204027509 - TARGET LOCATION 2– 7.87 lbs
          x   07/23/2022 – 9505515069312204434594 - TARGET LOCATION 2– 7.81 lbs
          x   08/18/2022 – 9505515069292230527388 – TARGET LOCATION 1– 7.68 lbs
          x   08/18/2022 – 9505513827062230017637 – TARGET LOCATION 1– 7.75 lbs
          x   08/23/2022 – 9505515622872235675647 – TARGET LOCATION 1– 5.75 lbs
          x   09/03/2022 – 9505515069272246493389 – TARGET LOCATION 1– 7.93 lbs
          x   09/03/2022 – 9505513827072246880187 – TARGET LOCATION 1– 8.00 lbs
          x   09/17/2022 – 9505515069312260446029 – TARGET LOCATION 1– 7.68 lbs
          x   09/17/2022 – 9505515069312240446036 – TARGET LOCATION 1– 8.56 lbs
          x   09/19/2022 – 9505513182272262850759 – TARGET LOCATION 1– 7.62 lbs
          x   09/19/2022 – 9505513182272262850766 – TARGET LOCATION 1– 7.68 lbs
          x   10/07/2022 – 9505515622882280451066 – TARGET LOCATION 1– 11.18 lbs

    95.       On February 2, 2023, a Confidential Source (CS) alerted the Columbus, Ohio DEA

    Airport Group of a suspicious ticket purchase for Mark Anglemyer and Arin Sodaro that was

    made on January 30, 2023. Anglemyer and Sodaro purchased one-way tickets to fly from

    Columbus, Ohio (a destination city for illicit narcotics) to Los Angeles, California (a source city

    for illicit narcotics), scheduled for departure on February 2, 2023. I know that it is common for

    narcotics traffickers to travel to narcotics source areas using tickets purchased shortly before

    their departure.

    96.       On February 2, 2023, at approximately 4:40 p.m., investigators monitored passengers at

    Gate B35, the gate set for the departure of Anglemyer’s and Sodaro’s flight. Agents were able to

    positively identify Anglemyer and Sodaro sitting together at the gate. Agents confirmed that both

    Anglemyer and Sodaro boarded the flight.

    97.       On February 3, 2023, Sodaro was identified at a Riverside, California U.S. Post Office

    where she mailed out a package. The package was addressed to                      , 2247 Waldren



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    Hill Road, Piketon, Ohio 45661 with a return address of                                        ,

                                .

    98.    According to law enforcement indices and open-source databases, 2247 Waldren Hill

    Road, Piketon, Ohio 45661 is a valid, deliverable address, but the name                 is not

    associated with the address. However, agents know this to be the residence of Blake Mankin, an

    identified member of the Anglemyer DTO. Investigators have not been able to find evidence of a

                 , nor the address of                                              .

    99.    On February 3, 2023, a police K9 positively alerted to the package shipped by Sodaro.

    USPIS investigators intercepted the package at the San Bernardino Processing and Distribution

    Center. A subsequent search warrant revealed a shoebox which contained a pair of tactical boots.

    Hidden inside each boot was approximately one-half kilo of suspected cocaine vacuum sealed in

    clear plastic bags. This shipment method and packaging matched the other package of cocaine

    that was intercepted on or about November 30, 2022. A field test of the cocaine yielded positive

    results for cocaine.

    100.   USPIS Agent’s assisting DEA-Riverside in their investigation also provided historical

    information on 2 Priority Mail packages that had been mailed from Riverside, CA to 2247

    Waldren Hill Road, Piketon, Ohio 45661, Blake Mankin’s address:

               Date Mailed      USPS Tracking #       WT        Date Delivered
           x   11/17/2022 – 9505515622872321695825 – 8.43 lbs. – 11/19/2022
           x   11/17/2022 - 9505515622872321695832 – 8.56 lbs. – 11/19/2022

    101.   Additional information from the search warrant executed on Anglemyer’s Facebook

    Account (1399133843) documented direct messages between Anglemyer and                    ,a

    former source of supply for cocaine, on 11/25/2022. During the course of the conversation,

    Anglemyer offered to begin supplying        with cocaine. Anglemyer further offered to show




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           how to “re-rock” cocaine (add filler/cut) to increase the profit margin. Anglemyer stated, “I

    have 97% raw uncut / Cartel stamped” (cocaine).

    102.    Based on your affiant’s knowledge of the investigation and operations of the Anglemyer

    DTO combined with the information provided by the investigators in Riverside, CA your affiant

    has probable cause to believe the Priority Mail packages mailed from Riverside, CA to Waverly,

    OH contained narcotics, specifically cocaine, and the Priority Mail packages mailed from

    Waverly, OH to                                              contained US currency, specifically

    proceeds derive from the sale of narcotics.

    103.    In February 2022, Anglemyer was arrested in Conway County, AR while in possession of

    approximately 300 lbs. of marijuana that was found in a rental vehicle Anglemyer was driving.

    In addition, state troopers/officers seized $5,511 in US currency from Anglemyer. On April 19,

    2022 Anglemyer was indicted on a State of Arkansas Class A Felony – for Possession with the

    Intent to Distribute. On February 15, 2023 Anglemyer pleaded guilty to a reduced charge of

    Possession of Drug Paraphernalia and was sentenced to a suspended sentence of 36 months, no

    probation, a $1,000 fine, and forfeiture of the seized $5,511.

    104.    In early June 2023, DEA-Columbus OH was advised by DEA-Riverside CA that the

    targets of their investigation had been indicted on federal narcotics violations, specifically

    cocaine. The source of supply of cocaine for the Anglemyer DTO was arrested.

    105.    Investigators received information on July 5, 2023 that Anglemyer and Arin Sodaro had

    purchased airline tickets to travel from Columbus, Ohio to Medellin, Colombia on July 16, 2023.

    According to the airline records the contact/payment information address for Anglemyer was

    TARGET LOCATION 1, a contact phone number of 740-835-9073, and a contact e-mail

    address of arin.sodaro@gmail.com.




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    106.   According to the American Airlines flight itinerary, Anglemyer and Sodaro were

    scheduled to return to the United States from Colombia on July 22, 2023. They were scheduled

    to fly from Medellin, Colombia to Orlando, Florida and then to Columbus, Ohio

    107.   Based on this intelligence information contact was made with DEA’s Colombia Office

    regarding Anglemyer and Sodaro’s flight itinerary. Agents confirmed that Anglemyer and

    Sodaro did in fact travel to Medellin, Colombia, but they did not arrive until July 17, 2023. Their

    flight from Miami was cancelled due to weather and they were booked on another flight the

    following day.

    108.   According to border crossing information, Anglemyer and Sodaro returned to the United

    States from Medellin, Colombia on July 22, 2023 and were processed through the

    CBP/Immigration Office at Orlando, Florida International Airport. CBP officers encountered

    Anglemyer and Sodaro. Anglemyer and Sodaro were provided with CBP Publication N. 2123-

    1215 “Inspection of Electronic Devices.” Anglemyer and Sodaro provided consent to have their

    cellphones searched/downloaded and provided their access codes to open their cellphones.

    109.   Sodaro’s cellular telephone was an Apple iPhone with telephone number (740) 835-4980.

    During the preliminary “hand” search of Sodaro’s cell phone, CBP discovered a photograph sent

    via Whatsapp of a FedEx package label dated July 21, 2023 with the tracking #781460885710.

    The package had been shipped from a FedEx office in Medellin, Colombia and was addressed to

    a                                                                           , which is next door to

    Anglemyer’s Market St. Apartment. According to the FedEx receipt, the package had a gross

    shipping weight of 4.50 kilograms (approximately 9.9 pounds).




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    110.   The package was designated as undeliverable and sent to a Colombian government

    warehouse. Colombian Customs advised that the FedEx package with tracking #781460885710

    contained approximately 396 grams of white, powdery substance that tested positive for cocaine.

    111.   Investigators have confirmed through the use of utility records that                   was a

    previous resident at                                     , but had not resided there since June 24,

    2022. At the time of the shipment described above,                                        , was

    occupied by an                    .

    112.   Based on your affiant’s knowledge and experience, your affiant knows that drug

    traffickers use false/fictitious information to send and/or receive narcotics via parcel packages.

    Your affiant further knows that it is not uncommon for narcotics traffickers to ship drugs to

    addresses not directly related or tied to the drug trafficker such as vacant lots or addresses close

    in proximity to their own address. The narcotics trafficker is then able to watch the tracking

    information for the package and easily retrieve the package from the nearby or vacant address

    upon delivery.

                     Electronic Extraction of Anglemyer’s and Sodaro’s Cell Phones

    113.   CBP Officials also conducted an “electronic (software) extraction” of both Anglemyer’s

    (740-835-9073) and Sodaro’s (740-835-6490) cellular telephones for contacts, calls, and texts.

    114.    The electronic extraction of Sodaro’s cellular telephone included text messages between

    Sodaro and a contact listed as         ” with telephone number                    . Agents

    identified this telephone number as registered to                                                 .

    Anglemyer had the same telephone number listed as “           ” in his contacts. Text messages

    between the 2 involved the organization’s illegal activities, to include drug trafficking and

    money laundering activities.




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    115.   On November 16, 2022, Sodaro and              exchanged text messages regarding the

    previously mentioned US Mail Priority Mail package that Sodaro mailed from Waverly to Lake

    Elsinore, California on November 7, 2022. That package had been seized by USPIS and was

    found to contain $7,500 in US Currency.

                   : How is JR [Mark Anglemyer]

           Sodaro: He’s okay ish

                   : My heart aches for him. He tries so hard

           Sodaro: He’s devastated. But I told him we will do everything we can to get to the

           bottom of this and in the mean time we will keep doing what we do.

                   : I know he is! And I feel so helpless. No one is taking a bigger risk then

           him…and he always seems to get the short end of the stick. I just hope this all pays off

           soon.

           Sodaro: It will

    116.   On December 2, 2022, Sodaro and             had the following text conversation regarding

    the previously mentioned Priority Mail parcel seized on December 2, 2022, that contained

    approximately one kilogram of cocaine.

                    How is JR [Mark Anglemyer]

           Sodaro: He’s okay

                   : That doesn’t sound good

           Sodaro: Just more and more keeps piling on

                   : Like what? His phone

           Sodaro: Phone.                      still owes and is ghosting him now

                    I think he [Mark Anglemyer] needs to beat his [            ] ass




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            Sodaro: I know. If stuff doesn’t start moving we are going to lose clientele and we will

            have to work twice as hard. I’ll do it and we will get it done it’s just nerve wracking.

                    : Yes it is nerve wracking but we will push through…what other choice do we

            have!

            Sodaro: We don’t

                    : Going back to 9-5 for either of you [Anglemyer and Sodaro] is not an option!

            Sodaro: I know

    118.    On December 6, 2022, Sodaro and Mark Anglemyer were in California; Sodaro and

           had the following text conversation:

                    : What did the facility [US Post Office] say in Columbus about the package

            Sodaro: Haven’t been able to get ahold of them.

                    : Maybe we can call Waverly post office and see if that Aaron guy can help

                    : Maybe he knows how to get a hold of them

            Sodaro: Maybe. I don’t even know at this point.

    119.    On December 7, 2022, Sodaro and              had the following conversation referencing co-

    conspirator, Heather Howell, and drug trafficking activities:

            Sodaro: I am so fucking livid with Heather it’s not even funny

                     Yeah she’s a bitch

            Sodaro: She never even had the conversation with me about                         ]. Just shit

            talked me to jr [Mark Anglemyer]

                     She’s so fucking lazy it’s insane

                     She could have called you and expressed her concerns. What did she say to him

            [Mark Anglemyer]




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               : She [Howell] sits over there [Market St. Apartment] all day and sleeps and gets

         High whenever she wants…goes shopping with                                   ] whenever she

         wants and everything is paid for! [Anglemyer pays the bills at the Market St.

         Apartment]. She doesn’t earn anything

         Sodaro: She is on my fucking shit list. I’ll work with her and nothing more

               : I understand that

               : I know girl I understand, she [Howell] crossed a line that can’t be uncrossed. It all

         boils down to her wanting to live over there [Market St. Apartment] Scot free. And not

         being bothered by anyone. And she can go drink and go to the Beast and fuck off

         whenever she wants. It doesn’t work that way! She isn’t a fucking princess

         Sodaro: She’s [Howell] mad because I jumped into this life and she can’t

               : Cause she’s a weak person

         Sodaro: She still hasn’t said a word to me

         Sodaro: No, hey thank you for finding someone else. I’m sorry I couldn’t hack it. Noting

                 Well good lord! She [Howell] isn’t moving her ass to sell more Green [slang

         term for marijuana] and bills need to be paid. I’m sure she’d have something to say if her

         rent didn’t get paid

         Sodaro: Jr [Anglemyer] wanted me to come out here [to California] to meet Cali jr

         [Dario Alejandro Labrada Lopez, the SOS for cocaine in California] so he [Anglemyer]

         could tell him [Labrada Lopez] that I am the one to take over [the cocaine portion of the

         business] if something happens to him [Anglemyer]. She [Howell] can’t do this shit.

         Sodaro: And she [Howell] couldn’t be with us [in California] for him [Anglemyer] to tell

         jr [Labrada Lopez] that. She’d lose her mind if she knew that’s how this was all going.




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    120.   On January 31, 2023, Sodaro and          had the following text conversation regarding an

    upcoming trip to California:

                  : Are you excited to go to LA again

           Sodaro: Dude. I’m jazzed. I have never felt at home in a random place in my life.

           Sodaro: This one is a little more nerve wracking though

                  : Good deal! I’m sure everything will be just fine!

                   Enjoy your trip

           Sodaro: I’m sure it will too. I just want this key [kilogram of cocaine] to get back on

           time

                   Right I understand that

                   I will keep an eye out if he sends it here [TARGET LOCATION 1]

    121.   On February 3, 2023, Sodaro and          had the following text conversation regarding the

    package of cocaine that Sodaro mailed from the Post Office in Riverside, California to 2247

    Waldron Hill Road, Piketon, Ohio, Blake Mankin’s residence:

                   Did y’all make it ok

           Sodaro: We did. I’m sorry I didn’t want to wake you when we got here.

                   No worries! Just wanted to check on you guys

                  : You guys ok?

           Sodaro: Yeah. He’s [Mark Anglemyer] asleep. I mailed that pack [US Priority Mail

           package] earlier.

                  : Ok I was worried I couldn’t get a hold of you guys

           Sodaro: I fell back asleep for a bit. The time change gets me.

                  : I understand! When is the pack supposed to arrive




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           Sodaro: Monday [February 6, 2023]

    122.   On February 6, 2023, Sodaro and           had the following text conversation regarding the

    package of cocaine that Sodaro mailed on February 3, 2023. The package was supposed to be

    delivered on February 6, 2023.

                  Jr [Mark Anglemyer] is slipping over this package not updating yet

           Sodaro: I know

                : It will be fine! They are so efficient with overnight packages

                : He [Mark Anglemyer] needs to calm down

           Sodaro: It hasn’t updated since the 3rd

                : So they’ve fucking lost another one

           Sodaro: I can tell she’s [Heather Howell, a member of the Anglemyer DTO] trying to

           leave me out of shit. Saying things like mark and I will do it on the group message

           Sodaro: I fucking hope not. I can’t fucking breathe right now

                : You can’t breathe because of heather?

           Sodaro: No. Hell no. The package

           Sodaro: I was up all night checking the tracking. Hoping it would update.

                : They said it would arrive today?

           Sodaro: That’s what it says

           Sodaro: But no update on the tracking

                : God damn I hate the postal service

           Sodaro: If this doesn’t come in. We are done

                : Yes I know

           Sodaro: There’s no way to fix it




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         Sodaro: We will all have to go back to 9-5

                 Yeah I know

         Sodaro: I’m sick to my stomach

               : I mean Jesus

         Sodaro: This was the be all end all

                 We don’t know it’s not coming

               : It’s not even late yet

         Sodaro: It hasn’t even updated since the day I sent it

               : It could update at any point today…it’s an overnighted package it will be here

         before we know it

         Sodaro: Ther is no conceivable way that package is going to get here today if it’s still in

         Cali right now.

               : Can you try to call the post office

         Sodaro: It won’t do any good. They will say what they always do. “If it’s not showing a

         scan it didn’t come here.”

                 You dropped it off there…did they scan it in front of you

         Sodaro: Yeah. It shows the lake elsinore scan and arriving at San burnadino

         Sodaro: That’s it

         Sodaro: They have to scan it to verify the address and process the sale

               : The post office is fucking horrible

               : It may just be a day or so late

         Sodaro: If it’s more than a day late I can almost bank on the fact that it’s not coming

               : Let’s give it till tomorrow or Wednesday and see if it updates




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            Sodaro: Even if he [Mark Anglemyer] has to get another one on credit. Which he won’t.

            But we would be able to make it work and pay it over time. But he’s just not going to.

            Sodaro: This will change him [Mark Anglemyer]. It’s not just the white [cocaine]. It will

            kill the restaurant too.

                     : I agree he won’t get another one [kilo of cocaine] on credit. Because he already

            owes him [SOS in California] another 25 k. Yes I know. My heart is just aching thinking

            of it.

                     : I’m sure he’s wanting to go drink

            Sodaro: If he sells the cars [1968 Chevrolet Chevelle and 1969 Pontiac GTO] that will

            give him the income he needs to get the restaurant [Lupo Nero Italian Cuisine] up and

            running. At least pay off one of the keys [kilograms of cocaine] and have some as a

            buffer for bills and what not in the mean time.

                     : Will he even want to start the restaurant

                       Yes that’s true! It just makes him feel so bad…I just don’t want his dream to fail

            Sodaro: I know. Same here.

            Sodaro: What do you want for dinner?

                     : A key of snow [kilogram of cocaine]

    123.    On February 9, 2023, Sodaro and             had the following text conversation regarding the

    package of cocaine that Sodaro mailed at the Riverside, California Post Office on February 3,

    2023:

            Sodaro: She [Heather Howell] just came over. Jr [Mark Anglemyer] is stressing over the

            packages. He’s getting paranoid that something’s going on with them.




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                 : There is no way! There is no way they would be able to track that! We used

           different addresses and all different name.

           Sodaro: I know. He’s worried about a controlled delivery

                 : Well he can see that coming

                 : If they ask anyone to sign then say no

           Sodaro: It’s just the possibility of that hanging over him. He wants to protect all of us

                   I completely understand that. But we all know not to sign for anything.

    124.   The electronic extraction performed on Sodaro’s cell phone by CBP in Orlando also

    revealed Sodaro and                    had several text conversations, below, regarding a bag of

    cash, presumably drug proceeds, kept at TARGET LOCATION 1. The extraction performed on

    Anglemyer’s cell phone also revealed a conversation, also below, between Anglemyer and

    Sodaro regarding the bag as well.

           x      On February 17, 2023, Sodaro and            had the following text conversation:

                  Sodaro: Would you care to put money in his [Anglemyer’s] accounts today. Or

                  have Heather [Howell] do it. 2000 in his 5/3 and 1000 in his atomic.

                          Yeah I can is he out of money?

                  Sodaro: Not out. Just doesn’t want to cut it short

                  Sodaro: We didn’t grab cash like we planned because we are both absent minded

                  lol

                          Ok his 5/3 account is at $500

                  Sodaro: We made it to San Diego last night

                          Great news

                  Sodaro: That’s where I figured it was at [5/3 account balance]




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                        : I’m headed to Lucasville shortly and I can drop it off

                        : Send me his atomic account number

                  Sodaro: I just give them his social [security number]. Neither of us know his

                  actual account number

                        : Ok

                  Sodaro: Will you let me know when you put that in his accounts?

                  Sodaro: He [Anglemyer] said he can’t check his atomic. As long as you have him

                  his name and social it will go in. That’s how I do it all the time.

                        : The money is in there

                  Sodaro: Thank you!!!

    Fifth Third Bank records document that on February 17, 2023, a cash deposit of $2,000 was

    made into Anglemyer’s personal checking account ending in 5052. Records from Atomic Credit

    Union document that on February 17, 2023, a cash deposit of $1,020 was made into Anglemyer’s

    credit union account.

           x      On March 8, 2023, Sodaro texted             “What do you want to eat. I’ll swing thru

           and get you guys something. It’s going to be a long ass night.” Then, “I need to bring

           money back to the house [TARGET LOCATION 1] anyway”

           x      On March 13, 2023, Sodaro and            had the following conversation:

                            Don’t forget to put money in JR’s [Anglemyer’s] atomic account

                  Sodaro: I have money already out for his atomic

    On March 13, 2023, a cash deposit of $1,000 was made to Anglemyer’s Atomic Credit Union

    account. The account was overdrawn prior to the deposit.

           x      On April 12, 2023, Sodaro and           had the following text conversation:




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                  Sodaro: Shit! I’ll put another grand in it and get your money back out too

                  Sodaro: We are supposed to go to Verizon and the bank after awhile anyway.

                        : Ok I just put $1,000 in his 5/3 account. He’s up to $1107 now

    Fifth Third Bank records indicate that on April 28, 2023, $1,000 was transferred from Mark and

                       joint checking account ending in 0843 to Mark Anglemyer’s Fifth Third

    Bank personal checking account ending in 5052. That same day a $1,200 cash deposit was made

    to Mark Anglemyer’s Fifth Third Bank account ending in 5052. It appears the deposits were

    made late enough on April 27, 2023, that the bank posted the deposits on the following day.

           x      On May 19, 2023, Sodaro and          had the following text conversation:

                  Sodaro: The money bag in the drawer [at TARGET LOCATION 1] is low and I

                  think he’s [Mark Anglemyer] pissed about it.

                        : I’ll be headed back in 10

           x      On May 27, 2023, Sodaro and          had the following text conversation:

                            Hey girl! Don’t forget about putting money in JR’s [Mark Anglemyer]

                  account

                  Sodaro: I know. I’m going to go up in just a bit.

                  Sodaro: I’m heading over [to TARGET LOCATION 1] to grab money

                        : Ok girl! Thank you!

                  Sodaro: I got 1300 so you can take your 300 back

    Records from Fifth Third Bank show a cash deposit of $1,500 on June 1, 2023 to Anglemyer’s

    personal checking account ending in 5052. On this same date $400 was transferred into

    Anglemyer’s personal checking account ending in 5052 from Mark and                            joint

    checking account ending in 0843. Later, $400 was transferred from Anglemyer’s personal




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    checking account ending in 5052 back to their joint checking account ending in 0843. Note:

    May 27, 2023 was a Saturday, and Monday, May 29, 2023 was Memorial Day.

           x       On July 4, 2023, Sodaro and Anglemyer had the following text conversation:

                   Sodaro: I need to come get money from the bag from where I paid           and the

                   aep for the shop.

                   Sodaro: And I’m going to put more money in your account

    125.   Additionally, there were text conversations, below, on both Anglemyer’s cell phone and

    Sodaro’s cell phone regarding drug trafficking activities. Multiple conversations discussed

    Sodaro making a “run,” which commonly refers to the act of taking narcotics to a customer

    and/or collecting money from a customer. One conversation revealed the location for “brewing”

    and processing customer orders. Other conversations indicated customers and a fellow DTO

    member making payments to Sodaro and/or

           x       On December 23, 2022, Sodaro and           had the following text conversation

           regarding “blow,” a common slang term for cocaine.

                          : Maybe your brother will do some of the blow you gave

                   Sodaro: Haha. Doubtful. They piss test them when they go back. He’s a chicken

                   shit

                   Sodaro: Holy fuck it is so cold outside. I have to go make a run

                   Sodaro: I’ll be over in a few

           x       On December 25, 2022, Sodaro and           had the following text conversation

           referencing another delivery to a customer:

                   Sodaro: Should I come back down or just meet you at the house [TARGET

                   LOCATION 1]. I just got done with that run




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         x      On January 13, 2023, Sodaro and           had the following text conversation

         regarding Sodaro delivering to customers:

                Sodaro: Just pulled in. Had a run

                Sodaro: Okay. I’m waiting on my second person to show.

         x      On January 26, 2023, Sodaro and           had the following text conversation:

                Sodaro: Blake [Mankin, a co-conspirator] might be bringing money over to you

                [                    ]

                Sodaro: He [Mankin] said he was headed in town

                          Ok

         x      On February 17, 2023, Anglemyer and                    (a cocaine customer) had the

         following text conversation:

                      : I ran into        and I had that cash on me and I gave it to her. I didn’t

                need to run around with it

                      : I feel better her having it

                Anglemyer:

                          Yes sir

                      : 1000

                Anglemyer: Ok brother

         x      On February 19, 2023, Anglemyer and                    (a cocaine customer) had the

         following text conversation:

                      :         has the money for the stuff you left

                Anglemyer: Ok brother




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         x          On June 22, 2023, Anglemyer had the following text conversation with a contact

         listed as               ” at cell phone number                 .

                              : Bro

                              : I’m sorry last time I didn’t answer you because I couldn’t

                                I need some green [slang term for marijuana]

         x          On June 27, 2023, Sodaro had the following text conversation with a contact

         listed as               at cell phone number (                . Investigators identified

             ” as                       of Waverly, Ohio.

                             : I can get it however is easier for you guys. I can meet you when I’m off

                    work if you like.

                    Sodaro: I don’t care to bring it out. Just let me know what works for you.

                              Hey. That was the wrong order

                    Sodaro: I need to get that back from you

                    Sodaro: I’m sorry. Things keep getting mixed with Blake [Mankin] and his

                    “help”

         x          On June 30, 2023, the following text conversation took place:

                             Are you at the house [TARGET LOCATION 1]

                    Sodaro: We [Sodaro and Anglemyer] are at mine [TARGET LOCATION 2].

                    Brewing an order. Almost finished.

         x          On June 30, 2023, Anglemyer had the following conversation with                 ”

                              : Ey bro [This text was sent just after midnight.]

                    Anglemyer: Sorry bro I was asleep and [Reply was sent after 7 a.m.]




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                Sodaro: I told him I wouldn’t josh him if he had to sit down for a little bit in

                between batches [of brewing steroids]. Lol

         x      On July 3, 2023, Sodaro and          had the following text conversation

         referencing the steroid orders they processed the previous day:

                        Did you have to run something [make a delivery to a customer]

                Sodaro: No I came over to my house [TARGET LOCATION 2] to put these

                labels on and take a shower

         x      Sodaro traveled to El Paso, Texas on July 7-10, 2023. Based on the conversation,

         agents determined Sodaro drove to Texas alone and picked up cocaine. Sodaro and

         Anglemyer communicated via text during Sodaro’s trip to El Paso, Texas. Below are

         pertinent portions of that text conversation:

                Sodaro: Illinois

                Sodaro: Oklahoma

                Sodaro: I’m 120 from Amarillo

                Anglemyer: Ole Amarillo

                Sodaro: New Mexico

                Sodaro: Physical pain, exhaustion, over stimulation. No physical conversation

                with another human in 24 hours. A lot of extremes

                Sodaro: I just want to come home

                Anglemyer: I know babe it’ll be over soon

                Sodaro: I can’t leave Monday until 2 or 3

                Anglemyer: It’ll be ok babe

                Sodaro: I was just letting you know what they said




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               Sodaro: This place is damn near in Mexico lol

               Sodaro: I asked the bar tender and she’s said even in this scene it’s hard to find

               people who would. A lot of people in this area try to distance themselves from

               anything that would be stereotypical

               Sodaro: I’ve got one more group I have my eye on. If that’s a bust. This isn’t the

               town to connect in.

               Anglemyer: Be cautious

               Sodaro: Very. More than you even know.

               Sodaro: These people are good to me. But I don’t assume it’s out of the kindness

               of their heart. You’ve thought [taught] me better

               Anglemyer: Good girl

               Sodaro: I’m starting to get the impression that El Paso is kind of like Columbia

               [Colombia]. They are trying to get away from the Juarez stigma

               Sodaro: I’m stealing this other group out. I don’t know babe

               Sodaro: Staking not stealing lol

               Anglemyer: Don’t

               Anglemyer: Leave it be

               Sodaro: Are you sure

               Anglemyer: Before word gets around your asking too much

               Sodaro: I have only asked the bar tender

               Anglemyer: Go to the app

               Sodaro: I’m going to leave soon

               Sodaro: I’m going to take the white back to my room. I’m done here




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                   Anglemyer: Ok babe

           x       On July 13, 2023, Sodaro and         had the following text conversation

           referencing packages being mailed out:

                   Sodaro: He’s [Anglemyer] good. He went with me to take          . He was not about

                   staying there. Lol

                          Lmao that’s too funny

                   Sodaro: He’s [Anglemyer] eating with          . I had to run these packs to the post

                   office [Packages of customer orders of steroids]

    126.   When CBP Officials conducted the electronic extraction of Anglemyer’s (740-835-9073)

    cellular telephone in Orlando, it revealed that Anglemyer had several apps installed on his phone

    to maintain anonymity while conducting business and personal exchanges, i.e., VPN apps, TOR

    Browser (an anonymous browser that blocks tracking and surveillance of websites visited),

    Proton Mail (encrypted email service), Phoner (provides unlimited temporary phone numbers to

    protect privacy), SPV (photo vault app). Anglemyer also had banking apps, travel apps, and

    messaging apps on his phone.

    127.   Based on the apps listed above, investigators have reason to believe that Anglemyer uses

    his iPhone to communicate, browse the internet, conduct banking transactions, maintain secure

    photos and/or files, and send/receive money using encrypted services. Agents in Orlando

    disclosed that Anglemyer’s WhatsApp was locked down with facial recognition, and therefore,

    were not able to access messages located there. The electronic extraction also revealed the

    iCloud feature on Anglemyer’s iPhone, with Apple ID and iCloud ID of

    markanglemyer@mail.com, was “enabled” at the time.




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    128.   A review of the extraction of Anglemyer’s phone when he returned to the United States

    from Colombia revealed that Anglemyer exchanged text conversations referencing other

    encrypted messaging apps:

           x      On March 11, 2023, Anglemyer and “Junior” (951) 447-9637 [California source

           of supply] had the following text conversation:

                  Junior: New num brother junior

                  Anglemyer: Yes sir

                  Anglemyer: Thank you brother

                  Junior: Ty brother [Thank you]

                  Junior: [Photograph sent]

                  Junior: That’s my session brother

                  Anglemyer: Ok brother awesome!!

                  Junior: Messaged you

                  Junior: Not sure how it works

                  Anglemyer: Pretty easy once you get the hang of it

           x      On March 27, 2023, Anglemyer and Junior had the following text conversation:

                  Anglemyer: Sent you a message on the app brother

    129.   According to subpoenaed airline records, on May 22, 2023, Anglemyer and Sodaro flew

    from Columbus, Ohio to Los Angeles, California on Spirit Airlines. Their return trip was

    scheduled for May 25, 2023, also on Spirit Airlines. On May 22, 2023, Anglemyer and Junior

    (909) 285-5651 had the following conversation:

                  Junior: Call me when you arrive

                  Anglemyer: Who is this




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                  Anglemyer: I’m still on the plane bro

                  Junior: Jr

                  Junior: I’m expecting u

                  Junior: I was told u would be here the 22nd

                  Anglemyer: Can you download the app again bro

                  Junior: Call me

                  Junior: It will be fast

    The text conversation continued approximately 30 minutes later.

                  Anglemyer: Waiting for the bus to take me to the rental car. Here is where I tried

                  to get ahold of you brother. When I could t [couldn’t] I thought well if he’s laying

                  low I should wait to hear back from him

                  Junior: Ty brother I see that

                  Anglemyer: I’d like to fix this and move forward

                  Junior: Im a man of my word you’ll be ok don’t worry about it brother like I said

                  I give u my word…yes I would love that

                  Junior: Come inside like before brother

                  Anglemyer: Ok bro

                  Anglemyer: Garage

                  Junior: Yes sir

    The text conversation continued approximately 15 minutes later.

                  Anglemyer: I’m glad we worked this out my brother

                  Junior: Yes sir ty for having the balls to come brother

                  Anglemyer: I wouldn’t have it any other way brother




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                   Junior: Means a lot brother

                   Anglemyer: My friendship with you means everything

                   Junior: Have a good night and a nice stay

                   Junior: I see you’re a solid person bud

                   Anglemyer: Coming from you that honors me greatly

                   Junior: Will be in touch brother I’ll reach out with another number soon.

                   Junior: I told the other dude everything went well brother u can tell him the same

                   Anglemyer: Ok brother I will

                   Junior: So we are pending with 52 brother just to be on the same page

                   Anglemyer: Yes sir

    Based on my experience and knowledge of the investigation, I believe Anglemyer and Junior, the

    California SOS, were discussing the amount of money owed when Junior stated, “So we are

    pending with 52 brother,” meaning Anglemyer owes $52,000.00.

    130.   The electronic extraction of the cell phones conducted by CBP in Orlando also

    revealed messages regarding Anglemyer’s and Sodaro’s trip to Medellin, Colombia to meet with

    a newly cultivated SOS for cocaine. This trip occurred right after their cocaine SOS in California

    was arrested. The following are text conversations regarding the trip.

           x       On June 30, 2023, Sodaro sent the following text to Anglemyer:

                   We need to book that trip [Colombia] tomorrow. I’ll put money in your account in

                   [if] there nothing.

    On July 3, 2023, a cash deposit of $4,000 was made to Anglemyer’s Fifth Third Bank personal

    checking account ending in 5052.

           x       On July 5, 2023, Sodaro and         had the following text conversation:




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                   Sodaro: I think all will be fine after Columbia [Colombia] trip

                         : Me too

           x       On July 7, 2023, Anglemyer and          had the following text conversation:

                         : You are going to take your trip [Colombia] and get what you need

                   [cocaine]. Then come home and run your business and build back so much money

                   Anglemyer: Use the app [encrypted messaging app]

                          Ok

           x       On July 11, 2023, Sodaro and Anglemyer had the following text conversation:

                   Sodaro: Let them do what they need to do, this trip is the priority and we

                   maintain the rest until we are ready to increase things. Okay

                   Anglemyer: Okay

           x       On July 16, 2023, Mark Anglemyer and Arin Sodaro were on their way to

           Medellin, Colombia. Sodaro and          had the following text conversation:

                   Sodaro: Can you transfer $1200 into his [Mark Anglemyer’s] account please and

                   take it out of the bag [located at TARGET LOCATION 1]

                         : Yes

    Fifth Third Bank records reflect a $1,200 transfer into Anglemyer’s personal account ending in

    5052 from Mark and                       Fifth Third Bank joint checking account ending in

    0843. The transaction had a posting date of July 17, 2023.

           x       On July 17, 2023, Anglemyer and Sodaro had arrived in Medellin, Colombia.

           Anglemyer sent a text to        that read, “Colombia!” It appears Anglemyer went alone

           to meet the new SOS for cocaine. The following is a text conversation between

           Anglemyer and Sodaro that they conducted that day:



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               Sodaro: You ok

               Sodaro: Will you please let me know when you [Anglemyer] get there and are

               heading back. I know you can handle yourself. I just worry too

               Sodaro: I turned my ringer on. You’re okay. Enjoy yourself and we will enjoy

               our evening. Just know all this blow [a slang term for cocaine] will likely mean

               I’m gonna need your body later tonight if that’s okay

               Anglemyer: Ok babe

               Anglemyer: I handed him [driver] a 20 thing and he acted like I gave him a Rolex

               Sodaro: To them that’s a lot. I don’t think a lot tip.

               Anglemyer: I guess

               Anglemyer: If your clutch took a shit on these mountains it would be a fast scary

               slide back to the bottom.

               Anglemyer: This is fucking insane

               Anglemyer: This house

               Sodaro: I am kinda jealous I’m not there to see it

               Sodaro: Take a picture of it for me

               Anglemyer: Photo taken [Actual photo was not downloaded as part of the

               electronic extraction]

               Sodaro: Jesus. That’s so cool. I know it sounds strange. But I’m glad you’re

               getting to experience that babe.

               Sodaro: You earned it

               Anglemyer: Thank you babe

               Sodaro: Are you waiting




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                   Anglemyer: Just viewed the line up [of drugs]

                   Sodaro: And?

                   Anglemyer: God damn

                   Sodaro: Everything you expected?

                   Anglemyer: Yes

    131.   On August 16, 2023, surveillance was established in Waverly, Ohio. At approximately

    8:00 a.m., both Sodaro and Howell exited TARGET LOCATION 1 and entered Sodaro’s

    Rogue, bearing Ohio registration HJW-9133. At approximately 10:16 a.m., Sodaro returned to

    TARGET LOCATION 1 with a young girl.

    132.   At approximately 10:34 a.m., Anglemyer and Sodaro exited TARGET LOCATION 1

    and departed in the Rogue. The 2 drove over to TARGET LOCATION 2. At approximately

    11:10 a.m., Anglemyer and Sodaro exited TARGET LOCATION 2 and drove the Rogue back

    to TARGET LOCATION 1.

    133.   At approximately 11:18 a.m., Anglemyer exited TARGET LOCATION 1 and climbed

    into the driver’s seat of the Ram truck. At approximately 11:20 a.m., Anglemyer departed.

    Anglemyer drove over to TARGET LOCATION 2, where Anglemyer was observed walking

    into an open front door with the young girl and a small boy.

    134.   At approximately 11:25 a.m., Anglemyer and Sodaro departed from TARGET

    LOCATION 2 in the Ram truck. Surveillance units followed as Anglemyer drove to the Market

    St. Apartment. Surveillance units were unable to follow the truck into the apartment complex

    due to the likelihood of being identified as law enforcement.




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    135.   At approximately 11:37 a.m., Anglemyer, Sodaro, and Howell departed the Market St.

    Apartment in the Ram truck. Surveillance units followed as Anglemyer drove passed the Post

    Office on Second Street in Waverly, Ohio to the Post Office on Forsythe Street in Piketon, Ohio.

    136.   At approximately 11:44 a.m., Howell was observed exiting the back, passenger door on

    the driver’s side as surveillance units set up in the area. Anglemyer remained in the driver’s seat.

    At approximately 11:48 a.m., Howell left the post office with a receipt in her hand. Howell

    returned to the backseat of the truck, behind Anglemyer. Anglemyer departed the area and drove

    to Ashland, Kentucky.

    137.   USPIS interdiction personnel in Columbus, Ohio were notified regarding the possible

    shipment from the Piketon Post Office. Subsequent information revealed that Howell mailed a

    total of 6 packages while inside the post office and paid cash for the Priority Mail shipping.

    138.   USPIS was able to identify and retrieve one package that was address to “

                                             ,” with a return address of “

                                     .” A search of law enforcement and open-source electronic

    databases was conducted to determine the validity of the destination information contained on

    the package. The address,                    ,” was found to be a valid and deliverable address in

    the 76162 zip code, and the name                  ” has received other mailings at this address,

    specifically 3 other mailings from Waverly, Ohio. Another search of law enforcement and open-

    source electronic databases was conducted to determine the validity of the return information

    contained on the package. The return address, “                             was determined to be an

    invalid address and is not served by the USPS. The search also revealed there is no

    in Pike County, Ohio.




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    139.    On December 12, 2023, agents conducted electronic and physical surveillance of

    Anglemyer. At approximately 8:00 a.m., Anglemyer departed TARGET LOCATION 1 and

    drove to TARGET LOCATION 2. Anglemyer departed TARGET LOCATION 2 at

    approximately 9:12 a.m. and stopped at Mill Run Road at approximately 9:36 a.m. Investigators

    have learned that Sodaro and/or Anglemyer rent a storage unit at this location. Anglemyer drove

    to the Ashville Post Office after departing the storage facility. Investigators discovered that

    Anglemyer shipped 2 priority mail parcels from the Ashville, Ohio Post Office using a return

    address of “                                                    .” A check of open-source and law

    enforcement indices revealed this address to be a viable address, but no one named

    is associated with the address. The shipping was paid for with cash. Agents confirmed with

    postal employees that a male subject had shipped these 2 packages. As previously stated, in my

    training and experience, it is common for drug traffickers to utilize fictitious names and/or make

    payments in cash to avoid detection from law enforcement.

    140.    On January 4, 2024, electronic surveillance revealed Sodaro and Anglemyer exiting

    TARGET LOCATION 2 at approximately 3:20 p.m. Sodaro appeared to be carrying at least

    one US Priority Mail package. Sodaro was observed entering the driver’s side of her 2020 Rogue

    while Anglemyer entered the passenger’s side. The vehicle departed the area.

    141.    Records from USPIS revealed that on January 4, 2024, at approximately 3:28 p.m., 2 US

    Priority Mail packages had been mailed from the Post Office in Waverly, Ohio. The return

    address listed on both packages was                                                               .

    The postage was paid with cash.

    142.    Through the use of open-source and law enforcement indices, investigators were unable

    to locate a                 associated with                                    . Based on prior




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    146.   Investigators further received evidence that MC 1856 was a MasterCard debit/credit card

    connected to the Fifth Third Bank personal checking account                belonging to Mark

    Anglemyer.

    147.   Based on the information provided above, your affiant has reason to believe that

                    is a steroid customer of the Anglemyer DTO and that the US Priority Mail

    packages that were mailed by Arin Sodaro on January 4, 2024, that originated from her residence

    at TARGET LOCATION 2 contained steroids.

    148.   On January 5, 2024, at approximately 2:39 p.m., electronic surveillance revealed that

    Anglemyer drove his Ram truck from TARGET LOCATION 1 to TARGET LOCATION 2.

    Approximately 45 minutes later, Sodaro drove the truck to Walmart and returned to her

    residence, TARGET LOCATION 2. Sodaro was the only occupant in the truck. Sodaro was

    observed exiting the vehicle and carrying a plastic shopping bag. At approximately 3:58 p.m.,

    Sodaro and Anglemyer exited TARGET LOCATION 2 and entered the Ram truck. Anglemyer

    carried 3 US Priority Mail packages from the residence, placed them inside the truck, and

    departed. The vehicle traveled from TARGET LOCATION 2 to the Post Office located at 125

    E. Second Street. Upon departing the Post Office, Anglemyer and Sodaro arrived at TARGET

    LOCATION 1.

    149.   Records from USPIS revealed that on January 5, 2024 at 4:02 p.m. and 4:03 p.m., 3 US

    Priority Mail Packages were mailed from the Post Office in Waverly. The return address listed

    on all 3 packages was,                                                           Through the use

    of open-source and law enforcement indicies, investigators were unable to locate an

            associated with the address of                                       .




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    The other addresses have been identified as Anglemyer’s PO Box or a fictitious address that has

    previously been used by the Anglemyer DTO to send packages. Based on my experience and

    knowledge of this investigation, I know drug traffickers often use fictitious names and addresses

    when mailing illegal substances to avoid detection from law enforcement. Based on the

    foregoing information, there is probable cause to believe that Thorne Penrod, located at

                                      , is a customer of the Anglemyer DTO purchasing steroids.

    169.   The address                                 , with the recipient identified as

            , was previously addressed in this affidavit as a customer of the Anglemyer DTO.

    170.   On March 11, 2024, at approximately 4:06 p.m., Anglemyer and Sodaro were observed

    exiting TARGET LOCATION 2. Anglemyer was carrying at least 2 packages. Anglemyer

    climbed into the passenger side of the Ram truck with the packages while Sodaro entered the

    driver’s seat. They departed TARGET LOCATION 2 and arrived at the Post Office in Waverly

    at approximately 4:11 p.m. They remained at the Post Office for approximately 8 minutes. When

    they departed from the Post Office, Sodaro and Anglemyer drove to TARGET LOCATION 1.

    At approximately 4:28 p.m., the truck departed TARGET LOCATION 1 and arrived at the old

    high school parking lot at approximately 4:30 p.m. Agents know this location to be a common

    place for the Anglemyer DTO to conduct drug transactions. The truck then arrived at TARGET

    LOCATION 2 at approximately 4:38 p.m.

    171.   Records from USPIS revealed that 2 US Priority Mail packages were mailed out with the

    return address of                                                         . Open source and law

    enforcement indices were checked, and                                            is not a viable

    address, nor is there a               in Pike County, Ohio. The 2 packages were mailed out as

    follows:




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    179.   This is the 18th package shipped to                                                    .

    Shipping history for this address was explained previously in this affidavit.

    180.   At approximately 10:19 a.m., Sodaro returned to TARGET LOCATION 2. Electronic

    surveillance revealed Sodaro exited the driver’s seat and opened the back passenger door to

    retrieve something before entering the residence. Shortly thereafter, Sodaro exited TARGET

    LOCATION 2 and departed in the Volkswagen Tiguan toward Hillside Avenue. Electronic

    surveillance at Hillside indicated that Sodaro arrived at TARGET LOCATION 1 at

    approximately 10:22 a.m.

    181.   At approximately 10:35 a.m., Sodaro and Anglemyer returned to TARGET

    LOCATION 2 in the Volkswagen Tiguan. Both exited the vehicle. Sodaro entered the

    residence, while Anglemyer stood on the front porch and looked around. It appeared he was

    checking to see if they were followed. He then went inside.

    182.   At approximately 3:20 p.m., Sodaro exited the residence carrying at least one package

    and entered the Volkswagen Tiguan. Information from USPIS revealed 2 more packages were

    mailed out. The return address on both packages was

                        . Open-source and law enforcement indices revealed the address of

                                   is not a viable address, and there is no person named

            in Pike County, Ohio. The postage was paid for in cash. Agents know that Anglemyer

    maintains bags of cash at TARGET LOCATION 1, presumably proceeds from drug trafficking,

    and as previously noted, Anglemyer and Sodaro were recently at TARGET LOCATION 1. The

    packages were mailed as follows:

                   x                                        . USPIS records revealed there was at
                       least one other package from the Anglemyer DTO shipped to this address on
                       January 5, 2024. The return address was blank, but postage was paid with



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         card used to purchase the pill press, was used to pay for shipping 29 of the packages

         using SPC Services, LLC as the sender.

         c.     Between August 18, 2020 and January 19, 2021,                           name was

         used to ship 9 packages from Morris’ previous address on Cherry Street and 1808 Deer

         Crossing Drive, Marysville, Ohio, identified as Shelton’s previous address from law

         enforcement indices. Based on surveillance, your affiant knows that          and Morris

         moved to Columbus, Ohio. The shipments were paid for using               credit card and a

         credit card connected to Anglemyer’s bank account.

         d.     Between October 1, 2020 and October 14, 2021, Anglemyer’s name and all 3

         addresses, TARGET LOCATION 1, the Market St. Apartment, and PO Box 186,

         Waverly, Ohio 45690, were used as the return address on 6 different shipments. One

         package was paid for using a Visa ending in 1911, which is connected to Morris’ US

         Bank account, and was used to pay for shipping steroids to the Arizona CI.

         e.     Between October 8, 2020 and March 8, 2021, 459 Priority Mail packages were

         shipped with the return address of “Thomas Shelby” at TARGET LOCATION 1.

         Agents know “Thomas Shelby” is an alias used by Tanner Morris.

         f.     Between March 9, 2021 and October 11, 2022, 1,086 Priority Mail parcels were

         shipped by members of the Anglemyer DTO using the return address of PO Box 186,

         Waverly, Ohio 45690.

         g.     Between April 15, 2022 and September 30, 2022, a total of 161 packages were

         shipped from the Wellston, Ohio Post Office, approximately 45 minutes away from

         Waverly, Ohio. 142 packages used PO Box 186, Waverly, Ohio as the return address; 2

         packages listed 516 West A Street, Wellston, Ohio as the return address; and 17 packages




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            were shipped with a blank return address. Agents have determined that Blake Mankin

            previously lived at of 516 West A Street, Wellston, Ohio 45962.

    189.    The shipping for all 2,453 packages was paid for using 15 different credit/debit cards or

    cash. All 15 cards have been identified as belonging to members of the Anglemyer DTO to

    include Anglemyer, Howell, Mankin, Morris, and             .

                                         Financial Investigation

    190.    Bank records from Fifth Third Bank revealed Anglemyer, with a listed address of

    TARGET LOCATION 1, has a checking account                             that he opened on June 26,

    2017. Anglemyer is listed as the sole owner of the account. At the time the account was opened

    Anglemyer listed his employer as Adena Health.

    191.    The bank records for the Fifth Third checking account                  revealed that

    Anglemyer used this account to purchase the pill press from LFA in March 2021. The purchase

    was made with a Mastercard ending in 4960 that was tied to the account.

    192.    Further review of the Fifth Third checking account                  revealed Anglemyer

    had used this account to pay for the mailing of US Priority Mail Packages in 2020, 2021, and

    2022.

    193.    Based on debits listed for his Fifth Third checking account                , Anglemyer

    made purchases that would be consistent with his narcotics operation from:

               x   Med Lab Supply
               x   Med Lab Gear
               x   GPZ Services / GZP Med Lab
               x   Premium Vials

    194.    A review of Anglemyer’s Fifth Third Bank account                     revealed that

    beginning on April 27, 2020, Anglemyer began to utilize the payment platform Cash App to send

    money from his Fifth Third Bank account to a subject named “Tanner,” and in August 2020,


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                  Sodaro: Thank you. I’ll pull out of the bag for you [at TARGET LOCATION 1]

                        : You can just deposit [cash] into his account and I’ll take it back

                  Sodaro: Okay!

                  Sodaro: His lenses were so expensive

                        : Yeah I’d say so

           x      On July 3, 2023, Sodaro and         had the following text conversation:

                        : I transferred my $1500 back into my account

                          He’s left with $2,632

                  Sodaro: Okay, that should be plenty to pay his bills for the week and book the

                  trip [to Colombia].

    On July 3, 2023, $1,500 was transferred from Anglemyer’s Fifth Third Bank personal checking

    account ending in 5052 to Mark and                       Fifth Third Bank joint checking account

    ending in 0843.

    197.   As of October 16, 2020, the Fifth Third account                 has been used to make

    weekly payments to Ohio Valley Bank of $338.97. In August 2020, Anglemyer purchased a

    2020 Ram truck from Hernstein Chrysler Jeep Ram in Chillicothe, Ohio for $86,302.00. The

    purchase of the truck was financed through Ohio Valley Bank. The Ohio Bureau of Motor

    Vehicles disclosed that on or about September 29, 2020, Anglemyer registered the vehicle using

    TARGET LOCATION 1. This is the same vehicle surveillance has observed Anglemyer use on

    numerous occasions to transport packages, including packages containing controlled substances,

    to the Post Office in Waverly, Ohio.

    198.   The Ohio Bureau of Motor Vehicles disclosed that on April 24, 2021, Mark Anglemyer

    purchased a 2016 Equinox and registered the vehicle using the address of the Market St.




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    Apartment. This is the same vehicle surveillance has observed Howell use on several occasions

    to transport packages, including packages containing controlled substances, to the Post Office in

    Waverly, Ohio.

    199.     According to the loan application for the purchase of the Equinox, dated April 24, 2021,

    Anglemyer entered into an agreement with the Nourse Chillicothe Automobile for a total

    purchase price of $19,120.38. The entire purchase price of the vehicle was financed through Park

    National Bank. Anglemyer is paying $317.16 per month for the loan payment on the Equinox.

    Anglemyer reported he was living at the Market St. Apartment for the past year and 6 months

    with a monthly rent of $325.00. Anglemyer listed his prior address as TARGET LOCATION 1

    and stated he was the owner of Anglemyer Legacy Marketing with a salary of $5,500 per month

    ($66,000 per year). Legacy Marketing, LLC was formed by Anglemyer on December 12, 2017,

    however, investigators have not been able to locate any financial information within

    Anglemyer’s banking records for this company.

    200.     Investigators discovered that on April 8, 2020, Mark A. Anglemyer received $20,000 in

    cash from a negotiable instrument that he cashed in at the Fifth Third Bank located at 128 W.

    Main Street, Chillicothe, Ohio 45601.

    201.     On August 28, 2020 Mark A. Anglemyer withdrew $13,000 in cash from bank account

                   with Fifth Third Bank. According to the Currency Transaction Report filed by

    Fifth Third Bank on the transaction, Anglemyer listed his occupation/Type of Business as

    “HANDYMAN.”

    202.     On August 3, 2021, Mark A. Anglemyer received $11,000 in cash from a negotiable

    instrument that he cashed in at the Fifth Third Bank located at 10551 Route 23, Lucasville, Ohio

    45648.




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    203.   Records received from Atomic Credit Union disclosed that on April 27, 2021 Mark A.

    Anglemyer, Jr. established a checking and savings account as Member #             . On the

    membership application/agreement he listed his occupation/employment as “Self-Employed.”

    This account, like the Fifth Third Bank Account               , received deposits from Venmo,

    Square, Cash App, Pay Pal, as well as deposits of US currency during the time period of April

    28, 2021 to October 9, 2022. I know, based on my training and experience that drug traffickers

    use these types of platforms to receive payments from their customers on their cell phones in an

    attempt to conceal a hand-to-hand payment.

    204.   From April 2021 through December 2021, Anglemyer deposited approximately

    $31,303.16 into the Atomic Credit Union #            checking account.

    205.   Records from the State of Ohio Department of Taxation revealed that for the tax years

    2017 through 2020 Mark Anglemyer and                        filed joint tax returns and had

    Federal Adjusted Gross Incomes of:

                   x   2017       $88,299.00
                   x   2018       $66,162.00
                   x   2019       $47,141.00
                   x   2020       $54,894.00
                   x   2021       $57,748.00

    206.   In 2017, Mark Anglemyer had IRS Form W-2 wages of $35,833.00 from Adena Health

    System. In 2018 Mark Anglemyer had multiple IRS Form W-2s indicating wages from Coughlin

    Auto Group ($66.00), Adena Health System ($2,680), and Paccar Inc. ($1,219.00), in addition to

    IRS Forms 1099-R from Valic Retirement Services ($12,184) for a total reportable income of

    $16,149. In 2019, Mark Anglemyer had no reportable income and the only income reported was

    from                      W2 wages of $47,652 from Mid-American Conversion Services. In

    2020, Mark Anglemyer had no reportable income;                       had W-2 wages of



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    $67,917.00 and their 2020 Federal adjusted gross income was reported as $54,894.00. In 2021,

    Mark Anglemyer had no reportable income;                         had W-2 wages of $89,391 and

    their reported Federal adjusted gross income was $57,748, which included a “Business Loss” of

    $24,426 as reported on IRS Form Schedule-C.

    207.   From mid-2021 to present day, investigators have not observed Anglemyer to be

    gainfully employed. Anglemyer had a food truck when law enforcement initiated the local

    investigation in April of 2021, however, agents never observed the food truck in operation during

    any surveillance. Anglemyer sold the food truck in July 2021 and was planning to establish a

    permanent location for a restaurant. However, on August 17, 2022, Anglemyer posted on his

    Facebook page that he does not plan to open the restaurant. Yet, a review of total annual deposits

    made into Fifth Third account                , solely owned by Mark Anglemyer, via PayPal,

    Cash App, Venmo, cash/currency and interfund-transfers revealed the following unexplained

    income/deposits:

           x   2020 - $ 217,906 (These deposits were not reflected as reported income on 2020
               taxes)
           x   2021 - $ 219,926 (These deposits were not reflected as reported income on 2021
               taxes)
           x   2022 - $55,767 (through January, February & March)

    208.   Records revealed that in 2021, Anglemyer paid approximately $16,271 on the Ram truck

    and $2,537 on the Chevy Equinox, totaling $18,808. Per the loan application for the Equinox,

    Anglemyer indicated he was living at the Market St. Apartment and paying monthly rent of

    $325, or $3,900 per year. These cash outflows do not include daily/monthly cost of living

    expenditures like food, utilities, travel, credit card payments, maintenance costs, insurance costs,

    cellular telephone costs, gas costs and/or mortgage costs. Just the annual cash outflows for the 2

    vehicles and the apartment rental, totaling $22,708 per year exceeds Anglemyer’s “reported




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    income” of zero ($0.00) dollars during the tax year of 2021, and/or a business operating loss of

    $24,426 as reported on his state tax returns.

    209.   I know from my training and experience that drug traffickers will deposit proceeds

    derived from the sale of narcotics into bank accounts to operate their illegal business, pay

    monthly expenses to include but not limited to car payments, rent payments, utilities, insurance,

    travel, and/or co-mingle funds in an attempt to legitimize ill-gotten gains.

                      ELECTRONIC STORAGE AND FORENSIC ANALYSIS

    210.   As described above and in Attachment B, this application seeks permission to search for

    records that might be found on the TARGET LOCATIONS, in whatever form they are found.

    One form in which the records might be found is data stored on a cellular telephone, on a

    computer’s hard drive or on other storage media. Thus, the warrant applied for would authorize

    the seizure of electronic storage media or, potentially, the copying of electronically stored

    information, all under Rule 41(e)(2)(B).

    211.   Probable cause. I submit that if a cellular telephone, a computer or a storage medium is

    found on the TARGET LOCATIONS, there is probable cause to believe those records will be

    stored on that computer or storage medium, for at least the following reasons:

           a. Based on my knowledge, training, and experience, I know that computer files or

               remnants of such files can be recovered months or even years after they have been

               downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic

               files downloaded to a storage medium can be stored for years at little or no cost.

               Even when files have been deleted, they can be recovered months or years later using

               forensic tools. This is so because when a person “deletes” a file on a computer, the




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               data contained in the file does not actually disappear; rather, that data remains on the

               storage medium until it is overwritten by new data.

           b. Therefore, deleted files, or remnants of deleted files, may reside in free space or slack

               space—that is, in space on the storage medium that is not currently being used by an

               active file—for long periods of time before they are overwritten. In addition, a

               computer’s operating system may also keep a record of deleted data in a “swap” or

               “recovery” file.

           c. Wholly apart from user-generated files, computer storage media—in particular,

               computers’ internal hard drives—contain electronic evidence of how a computer has

               been used, what it has been used for, and who has used it. To give a few examples,

               this forensic evidence can take the form of operating system configurations, artifacts

               from operating system or application operation, file system data structures, and

               virtual memory “swap” or paging files. Computer users typically do not erase or

               delete this evidence, because special software is typically required for that task.

               However, it is technically possible to delete this information.

           d. Similarly, files that have been viewed via the Internet are sometimes automatically

               downloaded into a temporary Internet directory or “cache.”

    212.   Forensic evidence. As further described in Attachment B, this application seeks

    permission to locate not only computer files that might serve as direct evidence of the crimes

    described on the warrant, but also for forensic electronic evidence that establishes how

    computers were used, the purpose of their use, who used them, and when. There is probable

    cause to believe that this forensic electronic evidence will be on any storage medium in the

    TARGET LOCATIONS because:




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         a. Data on the storage medium can provide evidence of a file that was once on the

            storage medium but has since been deleted or edited, or of a deleted portion of a file

            (such as a paragraph that has been deleted from a word processing file). Virtual

            memory paging systems can leave traces of information on the storage medium that

            show what tasks and processes were recently active. Web browsers, e-mail programs,

            and chat programs store configuration information on the storage medium that can

            reveal information such as online nicknames and passwords. Operating systems can

            record additional information, such as the attachment of peripherals, the attachment

            of USB flash storage devices or other external storage media, and the times the

            computer was in use. Computer file systems can record information about the dates

            files were created and the sequence in which they were created, although this

            information can later be falsified.

         b. As explained herein, information stored within a computer and other electronic

            storage media may provide crucial evidence of the “who, what, why, when, where,

            and how” of the criminal conduct under investigation, thus enabling the United States

            to establish and prove each element or alternatively, to exclude the innocent from

            further suspicion. In my training and experience, information stored within a

            computer or storage media (e.g., registry information, communications, images and

            movies, transactional information, records of session times and durations, internet

            history, and anti-virus, spyware, and malware detection programs) can indicate who

            has used or controlled the computer or storage media. This “user attribution”

            evidence is analogous to the search for “indicia of occupancy” while executing a

            search warrant at a residence. The existence or absence of anti-virus, spyware, and




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            malware detection programs may indicate whether the computer was remotely

            accessed, thus inculpating or exculpating the computer owner. Further, computer and

            storage media activity can indicate how and when the computer or storage media was

            accessed or used. For example, as described herein, computers typically contain

            information that log: computer user account session times and durations, computer

            activity associated with user accounts, electronic storage media that connected with

            the computer, and the IP addresses through which the computer accessed networks

            and the internet. Such information allows investigators to understand the

            chronological context of computer or electronic storage media access, use, and events

            relating to the crime under investigation. Additionally, some information stored

            within a computer or electronic storage media may provide crucial evidence relating

            to the physical location of other evidence and the suspect. For example, images

            stored on a computer may both show a particular location and have geolocation

            information incorporated into its file data. Such file data typically also contains

            information indicating when the file or image was created. The existence of such

            image files, along with external device connection logs, may also indicate the

            presence of additional electronic storage media (e.g., a digital camera or cellular

            phone with an incorporated camera). The geographic and timeline information

            described herein may either inculpate or exculpate the computer user. Last,

            information stored within a computer may provide relevant insight into the computer

            user’s state of mind as it relates to the offense under investigation. For example,

            information within the computer may indicate the owner’s motive and intent to

            commit a crime (e.g., internet searches indicating criminal planning), or




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            consciousness of guilt (e.g., running a “wiping” program to destroy evidence on the

            computer or password protecting/encrypting such evidence in an effort to conceal it

            from law enforcement).

         c. A person with appropriate familiarity with how a computer works can, after

            examining this forensic evidence in its proper context, draw conclusions about how

            computers were used, the purpose of their use, who used them, and when.

         d. The process of identifying the exact files, blocks, registry entries, logs, or other forms

            of forensic evidence on a storage medium that are necessary to draw an accurate

            conclusion is a dynamic process. While it is possible to specify in advance the

            records to be sought, computer evidence is not always data that can be merely

            reviewed by a review team and passed along to investigators. Whether data stored on

            a computer is evidence may depend on other information stored on the computer and

            the application of knowledge about how a computer behaves. Therefore, contextual

            information necessary to understand other evidence also falls within the scope of the

            warrant.

         e. Further, in finding evidence of how a computer was used, the purpose of its use, who

            used it, and when, sometimes it is necessary to establish that a particular thing is not

            present on a storage medium. For example, the presence or absence of counter-

            forensic programs or anti-virus programs (and associated data) may be relevant to

            establishing the user’s intent.

         f. I know from my training and experience that cellular telephones and computers may

            be important to criminal investigations in 2 distinct ways: (1) such devices may

            themselves be evidence, instrumentalities, or fruits of crime, and/or (2) such devices




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               may be used as storage devices that contain contraband, evidence, instrumentalities,

               or fruits of crime in the form of electronic data. In this investigation, cellular phones

               and/or computers are instrumentalities of the crimes because they were used as a

               means of committing the criminal offenses. That is, including but not limited to

               receiving renumeration for the sale of illegal steroids through various digital payment

               applications, and operating as a platform for the purchase of illegal steroids using the

               Internet. Such devices are also likely to be a storage medium for evidence of such

               crimes. From my training and experience, I believe that cellular telephones and

               computers used to commit a crime of this type may contain data that is evidence of

               how the electronic device was used; data that was sent or received; and other records

               that indicate the nature of the offense.

    213.   Necessity of seizing or copying entire computers or storage media. In most cases, a

    thorough search of a premises for information that might be stored on storage media often

    requires the seizure of the physical storage media and later off-site review consistent with the

    warrant. In lieu of removing storage media from the premises, it is sometimes possible to make

    an image copy of storage media. Generally speaking, imaging is the taking of a complete

    electronic picture of the computer’s data, including all hidden sectors and deleted files. Either

    seizure or imaging is often necessary to ensure the accuracy and completeness of data recorded

    on the storage media, and to prevent the loss of the data either from accidental or intentional

    destruction. This is true because of the following:

           a. The time required for an examination. As noted above, not all evidence takes the

               form of documents and files that can be easily viewed on site. Analyzing evidence of

               how a computer has been used, what it has been used for, and who has used it




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               requires considerable time, and taking that much time on premises could be

               unreasonable. As explained above, because the warrant calls for forensic electronic

               evidence, it is exceedingly likely that it will be necessary to thoroughly examine

               storage media to obtain evidence. Storage media can store a large volume of

               information. Reviewing that information for things described in the warrant can take

               weeks or months, depending on the volume of data stored, and would be impractical

               and invasive to attempt on-site.

           b. Technical requirements. Computers can be configured in several different ways,

               featuring a variety of different operating systems, application software, and

               configurations. Therefore, searching them sometimes requires tools or knowledge

               that might not be present on the search site. The vast array of computer hardware and

               software available makes it difficult to know before a search what tools or knowledge

               will be required to analyze the system and its data on the Premises. However, taking

               the storage media off-site and reviewing it in a controlled environment will allow its

               examination with the proper tools and knowledge.

           c. Variety of forms of electronic media. Records sought under this warrant could be

               stored in a variety of storage media formats that may require off-site reviewing with

               specialized forensic tools.

    214.   Nature of examination. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the

    warrant I am applying for would permit seizing, imaging, or otherwise copying storage media

    that reasonably appear to contain some or all of the evidence described in the warrant, and would

    authorize a later review of the media or information consistent with the warrant. The later

    review may require techniques, including but not limited to computer-assisted scans of the entire




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                     ATTACHMENT “A” – PLACE TO BE SEARCHED

         The place to be searched is the premises known as 418 Hillside Avenue, Waverly, Ohio
45690.

         The premises includes a two-story building with blue vinyl siding. It is located on the west
side of the street, halfway down, and across from Linden Avenue in Waverly, Ohio. The front
door is white with an oval window and there is a storm door installed. The porch has several white
pillars and opens to the front yard. There are three “dormer” windows above the porch. There is
a covered car port on the right side of the house.

       This warrant authorizes the search of not only the building, but the entire property of 203
Cherry Street, Waverly, OH 45690, including curtilage, all outbuildings, trash receptacles, and
vehicles located on the premises that are owned or operated by the residents of the property.
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                                       ATTACHMENT B

                                  PROPERTY TO BE SEIZED

  A. Any and all illegal narcotics, including steroids and cocaine.

  B. Any equipment used in the manufacturing, labeling, storage, and/or distribution of said
     illegal narcotics, including pre-cursors, drug packaging material, and cutting agents.

  C. Log books, records, payment receipts, notes, and/or customer lists, ledgers, and other papers
     relating to the transportation, ordering, purchasing, processing, storage, and distribution of
     controlled substances, in particular steroids; all records of assets, liabilities, income and
     expenses for the years 2017, 2018, 2019, 2020, 2021, 2022, 2023, and 2024.

  D. All travel records to include papers, tickets, notices, credit card receipts, travel schedules,
     travel receipts, passports, and/or records, and other items relating to travel to obtain and
     distribute narcotics and narcotic proceeds. Evidence of such travel is often times maintained
     by narcotics traffickers in the form of airline receipts, bus tickets, automobile rental receipts,
     credit card receipts, travel schedules, diaries, hotel receipts, logs, travel agency vouchers,
     notes, cellular telephone tolls, and records of long-distance telephone calls.

  E. All personal financial records including books, records, invoices, receipts, records of real
     estate transactions, financial statements, bank accounts, money market accounts, checking
     accounts, equity line of credit, investment accounts, canceled checks, credit and debit cards,
     deposit tickets, passbooks, money drafts, withdraw slips, certificates of deposit, letters of
     credit, loan and mortgage records, money orders, bank drafts, cashier's checks, bank checks,
     safe deposit box keys, money wrappers, wire transfer records, PayPal accounts, Venmo
     accounts, Cash App accounts and the like, fictitious identification, and other items
     evidencing the obtaining, secreting, transfer, concealment, and/or expenditure of money.

  F. All personal and business tax records for the years 2017-2024 including all federal, state
     and local tax returns together with all schedules and attachments; drafts, copies and
     partially completed returns; tax preparation files including receipts, work papers, and
     notes; and correspondence to/from or regarding any tax authority, return preparer, or
     accountant.

  G. Records related to assets or items of significant value (boats, vehicles, real property, jewelry,
     electronics, precious gems and metals, furs, household/business furnishings, etc.) reasonably
     believed to be proceeds of the illegal activity described in the affidavit for this search
     warrant, including but not limited to records of all assets purchased, obtained, and sold, all
     liabilities incurred or disposed of, and all expenditures paid either for the subjects, their
     nominees, or entities.

  H. United States currency, precious metals, jewelry, gold coins, and financial instruments,
     including, but not limited to, stocks and bonds.




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  I. Photographs, including still photos, negatives, video tapes, films, slides, SD Cards and the
     contents therein, in particular, photographs of co-conspirators, of assets and/or narcotics.

  J. Address and/or telephone books, rolodex indices, and any papers reflecting names,
     addresses, telephone numbers, contact numbers, fax numbers, e-mail and social media
     account numbers of co-conspirators, sources of supply, storage facilities, customers,
     financial institutions, and other individuals or businesses with whom a financial relationship
     exists.

  K. Indicia of occupancy, residency, rental and/or ownership of the premises described above or
     vehicles located thereon, including, but not limited to utility and telephone bills, canceled
     envelopes, keys, deeds, purchase lease agreements, land contracts, titles, and vehicle
     registrations.

  L. Firearms and ammunition, including but not limited to handguns, pistols, revolvers, rifles,
     shotguns, machine-guns, and other weapons, and any records or receipts pertaining to
     firearms and ammunition.

  M. The opening and search, and removal, if necessary, of any safe or locked receptacle or
     compartment, as some or all of the property heretofore may be maintained.

  N. Electronic equipment, such as cellular telephones, currency counting machines, telephone
     answering machines, telephone caller identification boxes, video and audio tapes, and any
     stored electronic communications contained therein.

  O. All cellular telephones to include their power cords, software, SIM cards, all related
     documentation, all stored data to include passwords, encryption keys, access codes, SIM
     passwords, files, programs, money exchange apps, messaging apps, ring tones, pictures,
     videos, phone books, call history, voice mail, e-mail, text messages, deleted messages
     audio and/or text and geographical information, and proof of ownership to include
     correspondence, registration keys or similar items and all cellular related accessories not
     specifically mentioned herein. To be able to download/retrieve all information from the
     cellular telephone and put all data into human readable form.

  P. All records relating to violations of 18 U.S.C. §§ 1956, 1957 (conspiracy to commit money
     laundering, and engaging in monetary transaction in property derived from specified
     unlawful activity), 21 U.S.C. § 841 (distribution of and possession with the intent to
     distribute controlled substances, including Schedule III Controlled Substances, Psilocybin
     Mushrooms, Marijuana, and Cocaine), 21 U.S.C. § 846 (conspiracy to distribute and to
     possess with the intent to distribute controlled substances, including Schedule III Controlled
     Substances, Psilocybin Mushrooms, Marijuana, and Cocaine), 21 U.S.C. § 843(a)(5)
     (unlawful possession of tools used to make a counterfeit substance), 21 U.S.C. § 843(a)(6)
     (unlawful possession of a tableting machine or product used to manufacture a controlled
     substance), and 21 U.S.C. § 843(b) (use of communication facility to facilitate the
     commission of a drug felony) (the “SUBJECT OFFENSES”) involving Mark Anglemyer,




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                          , Arin Sodaro, Tanner Morris, Heather Howwell, or Blake Mankin, and
        occurring after September 1, 2020, including:

            a. Records and information relating to a conspiracy to distribute controlled substances,
               including steroids and cocaine;

            b. Records and information relating to sources of supply for controlled substances and
               purchasing controlled substances;

            c. Records and information relating to customers for controlled substances and selling
               controlled substances;

            d. Records and information relating to sources of supply for materials, equipment and
               paraphernalia to prepare and package controlled substances for distribution; and

            e. Records and information relating to proceeds from distribution of controlled
               substances;

     Q. For any computer or storage medium whose seizure is otherwise authorized by this
        warrant, and any computer or storage medium that contains or in which is stored records
        or information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):

            a. evidence of who used, owned, or controlled the COMPUTER at the time the
               things described in this warrant were created, edited, or deleted, such as logs,
               registry entries, configuration files, saved usernames and passwords, documents,
               browsing history, user profiles, email, email contacts, “chat,” instant messaging
               logs, photographs, and correspondence;
            b. evidence of software that would allow others to control the COMPUTER, such as
               viruses, Trojan horses, and other forms of malicious software, as well as evidence
               of the presence or absence of security software designed to detect malicious
               software;
            c. evidence of the lack of such malicious software;
            d. evidence indicating how and when the computer was accessed or used to
               determine the chronological context of computer access, use, and events relating
               to crime under investigation and to the computer user;
            e. evidence indicating the computer user’s state of mind as it relates to the crime
               under investigation;
            f. evidence of the attachment to the COMPUTER of other storage devices or similar
               containers for electronic evidence;
            g. evidence of counter-forensic programs (and associated data) that are designed to
               eliminate data from the COMPUTER;



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             h. evidence of the times the COMPUTER was used;
             i. passwords, encryption keys, and other access devices that may be necessary to
                access the COMPUTER, to include phone passwords;
             j. documentation and manuals that may be necessary to access the COMPUTER or
                to conduct a forensic examination of the COMPUTER;
             k. records of or information about Internet Protocol addresses used by the
                COMPUTER;
             l. records of or information about the COMPUTER’s Internet activity, including
                firewall logs, caches, browser history and cookies, “bookmarked” or “favorite”
                web pages, search terms that the user entered into any Internet search engine, and
                records of user-typed web addresses;
             m. contextual information necessary to understand the evidence described in this
                 attachment.

     R. In order to search for the items described above that may be maintained in electronic
        media, law enforcement personnel are authorized to search, copy, image and seize the
        following items for off-site review:

             a. Any computer or storage medium capable of being used to commit, further or
                store evidence of Title 21, United States Code § 841(a)(1) (distribution of a
                controlled substance); and

             b. Any physical keys, encryption devices, dongles and similar physical items that are
                necessary to gain access to the computer or storage medium;

     S. During the execution of the search of the devices identified above, law enforcement
        personnel are authorized to press the fingers (including thumbs) of Mark Anglemyer,
                         , Arin Sodaro, Tanner Morris, Heather Howell, or Blake Mankin to the
        Touch ID sensor of any digital device referred to above found at the search location for
        the purpose of attempting to unlock the device via Touch ID in order to search the
        contents as authorized by this warrant. Similarly, law enforcement personnel are
        authorized to position the Face ID sensor of any digital device referred to above found at
        the search location, in relation to the face of Mark Anglemyer,                     , Arin
        Sodaro, Tanner Morris, Heather Howell, or Blake Mankin, for the purpose of attempting to
        unlock the device via Face ID to search the contents as authorized by this warrant.
     T. Other fruits and instrumentalities of the crimes of 18 U.S.C. §§ 1956, 1957; 21 USC §§
        841(a)(1), 846, 843(a)(5), 843(a)(6) and 843(b).

          As used above, the terms “records” and “information” includes all forms of creation or
  storage, including any form of computer or electronic storage (such as hard disks or other media that
  can store data); any handmade form (such as writing); any mechanical form (such as printing or




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  typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,
  videotapes, motion pictures, or photocopies).

          The term “computer” includes all types of electronic, magnetic, optical, electrochemical, or
  other high speed data processing devices performing logical, arithmetic, or storage functions,
  including desktop computers, notebook computers, mobile phones, tablets, server computers, and
  network hardware.

         The term “storage medium” includes any physical object upon which computer data can be
  recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and other
  magnetic or optical media.




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